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                EXHIBIT K
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                                                                                             US010772868B2

  ( 12) United States Patent                                              ( 10) Patent No.: US 10,772,868 B2
           Mosher et al .                                                 (45) Date of Patent : *Sep . 15, 2020
  ( 54 ) ENALAPRIL FORMULATIONS                                      (52 ) U.S. CI.
                                                                               CPC        A61K 31/401 (2013.01 ) ; A61K 9/0053
  ( 71 ) Applicant: Silvergate Pharmaceuticals , Inc. ,                               (2013.01 ) ; A61K 9/0095 ( 2013.01 ) ; A61K
                    Greenwood Village, CO (US )                                         47/12 (2013.01 ) ; A61K 47/26 (2013.01 )
                                                                     ( 58 ) Field of Classification Search
  ( 72 ) Inventors: Gerold L. Mosher , Kansas City, MO                         CPC          A61K 31/401 ; A61K 47/12 ; A61K 47/26 ;
                    (US ) ; David W. Miles , Kansas City,                                              A61K 9/0053 ; A61K 9/0095
                    MO (US)                                                    See application file for complete search history.
  ( 73 ) Assignee : Silvergate Pharmaceuticals , Inc. ,              ( 56 )                    References Cited
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  ( * ) Notice : Subject to any disclaimer, the term of this                  4,374,829 A       2/1983 Harris et al .
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  (22) Filed :             Jan. 8 , 2019
  ( 65 )               Prior Publication Data                                           OTHER PUBLICATIONS
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         No. 16 /003,994 , filed on Jun . 8 , 2018 , now Pat . No.   (74 ) Attorney, Agent, or Firm Wilson , Sonsini ,
         10,154,987 , which is a continuation of application         Goodrich & Rosati , P.C.
        No. 15 / 802,341 , filed on Nov. 2 , 2017 , now Pat. No.     ( 57 )                ABSTRACT
                           (Continued )                              Provided herein are stable enalapril oral liquid formulations.
  (51 ) Int. Ci.                                                     Also provided herein are methods of using enalapril oral
        A61K 31/401               ( 2006.01 )                        liquid formulations for the treatment of certain diseases
        A61K 9/00                 ( 2006.01 )                        including hypertension , heart failure and asymptomatic left
        A61K 47/26                ( 2006.01 )                        ventricular dysfunction.
        A61K 47/12                ( 2006.01 )                                       30 Claims , 2 Drawing Sheets
                 Enalapril diketopiperazinc; O Enalaprilat
                     0.6
                         0.5
                         0.4
                         0.3

                 enaleaprtiel 0.2
                 of
                 /
                 w
                 m%
                         0.1
                              0
                                    3            3.5                      4.                       4.5                       5
                                                                        pH
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                                                 FIG . 1
     Enalapril diketopiperazine; O Enalaprilat
            8

             0.5
             0.4
                                           0 0
             0.3                           O
     enaleaprtiel 0.2
     of
     /
     w
     m%
                                O
             0.1
                                           8
                  0
                        3           3.5                    4    4.5           5
                                                       pH
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                                                       FIG . 2


           Enalapril diketopiperazine; O Enalaprilat
                   4.0
                   3.5
                                                                      o
                   3.0
                   2.5
                   2.0
    enaleaprtiel
    of
    /
    w
    m%             1.5
                                               8
                                    O
                   1.0
                   0.5
                   0.0
                         3              3.5                 4             4.5            5
                                                           pH
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                                                       US 10,772,868 B2
                                 1                                                                        2
               ENALAPRIL FORMULATIONS                                                                -continued
                                                                                              ?? ,
             CROSS - REFERENCE OF RELATED
                         APPLICATIONS
                                                                     5
      This application is a continuation of U.S. patent applica
  tion Ser. No. 16/ 177,159 , filed Oct. 31 , 2018 , which is a                                                              OH
  continuation of U.S. patent application Ser. No. 16 /003,994 ,
  filed Jun. 8 , 2018 , which is a continuation of U.S. patent                                       Enalaprilat
  application Ser. No. 15 / 802,341 , filed Nov. 2 , 2017 ( now      10
  U.S. Pat . No. 10,039,745 , issued Aug. 7 , 2018 ) , which is a           Enalapril is currently administered in the form of oral
  continuation of U.S. patent application Ser. No. 15 / 613,622 ,
  filed Jun . 5 , 2017 ( now U.S. Pat. No. 9,808,442 , issued Nov.     tablets , (e.g. , Vasotec® ) or in the form of liquid formulations
  7 , 2017 ) , which is a continuation of U.S. patent application      obtained by reconstitution of enalapril powder formulations.
  Ser. No. 15 / 081,603 , filed Mar. 25 , 2016 (now U.S. Pat . No. In addition to the treatment of hypertension, enalapril tablets
  9,669,008 , issued Jun . 6 , 2017 ) , which claims the benefit of 15
  U.S. Provisional Patent Application No. 62 /310,198 , filed have     and
                                                                             been used for symptomatic congestive heart failure ,
                                                                            asymptomatic      left ventricular dysfunction.
  Mar. 18 , 2016 , all of which are incorporated herein by
  reference in their entirety .                                                       SUMMARY OF THE INVENTION
           BACKGROUND OF THE INVENTION                               20
                                                                      Provided herein are enalapril oral liquid formulations. In
     Hypertension , or high blood pressure, is a serious health one
                                                                ( i )
                                                                        aspect , the enalapril oral liquid formulation , comprises
                                                                      enalapril  or a pharmaceutically acceptable salt or solvate
  issue in many countries. According to the National Heart
  Blood and Lung Institute , it is thought that about 1 in 3 thereof (ii ) a sweetener that is sucralose ( iii ) a buffer
  adults in the United States alone have hypertension . Left 25 comprising citric acid ; (iv) a preservative that is sodium
  unchecked , hypertension is considered a substantial risk benzoate; and (v) water; wherein the pH of the formulation
  factor for cardiovascular and other diseases including coro             is less than about 3.5 ; and wherein the formulation is stable
  nary heart disease, myocardial infarction , congestive heart            at about 5 + 3 ° C. for at least 12 months .
  failure, stroke and kidney failure. Hypertension is classified    In some embodiments, the enalapril is enalapril maleate .
  as primary ( essential) hypertension or secondary hyperten- 30 In some embodiments, the formulation further comprises a
  sion . Primary hypertension has no known cause and may be flavoring agent. In some embodiments, the buffer in the
  related to a number of environmental, lifestyle and genetic formulation further comprises sodium citrate dihydrate. In
  factors such as stress, obesity, smoking, inactivity and some embodiments, the amount of enalapril or a pharma
  sodium intake. Secondary hypertension can be caused by ceutically acceptable salt or solvate thereof is about 0.6 to
  drug   or surgical interventions, or by abnormalities in the 35 about 1.2 mg/ml. In some embodiments, the amount of
  renal, cardiovascular or endocrine system .
     A number of antihypertensive drugs are available for ments   sucralose is about 0.5 to about 0.9 mg /ml. In some embodi
  treating hypertension. Various therapeutic classes of antihy about , 3.5
                                                                         the amount of citric acid in the buffer is about 0.8 to
                                                                              mg /ml. In some embodiments, the amount of
  pertensive drugs include alpha -adrenergic blockers, beta sodium citrate
  adrenergic blockers, calcium - channel blockers, hypoten- 40 0.80 mg/ml. Indihydrate      in the buffer is about 0.1 to about
  sives , mineral corticoid antagonists, central alpha -agonists, sodium benzoate issome   embodiments, the amount of the
                                                                                       about 0.2 to about 1.2 mg/ml. In some
  diuretics and rennin -angiotensin -aldosterone inhibitors               embodiments, the amount of enalapril or a pharmaceutically
  which include angiotensin II receptor antagonists (ARB ) and            acceptable salt or solvate thereof is about 10 to about 25 %
  angiotensin -converting enzyme (ACE ) inhibitors . Angio
  tensin -converting enzyme (ACE) inhibitors inhibit angio- 45 (w /w of solids ) . In some embodiments, the amount of
  tensin -converting enzyme (ACE ) , a peptidyl dipeptidase that sucralose is about 8 to about 18 % ( w / w of solids ) . In some
  catalyzes angiotension I to angiotension II , a potent vaso      embodiments, the amount of citric acid in the buffer is about
  constrictor involved in regulating blood pressure.               17 to about 47 % ( w / w of solids ) . In some embodiments, the
     Enalapril is a prodrug belonging to the angiotensin           amount of sodium citrate dihydrate in the buffer is about 1
  converting enzyme (ACE ) inhibitor of medications. It is 50 to about 11 % ( w / w of solids ) . In some embodiments, the
  rapidly hydrolyzed in the liver to enalaprilat following oral amount of sodium benzoate is about 12 to about 25 % ( w / w
  administration . Enalaprilat acts as a potent inhibitor of ACE . of solids ) . In some embodiments, the pH of the formulation
  The structural formulae of enalapril and enalaprilat are as is between about 3 and about 3.5 . In some embodiments, the
  follows:                                                         pH of the formulation is about 3.3 . In some embodiments,
                                                                     55 the citrate concentration in the buffer is about 5 mM to about
                                                                          20 mM . In some embodiments, the citrate concentration in
                                                                        the buffer is about 10 mM . In some embodiments, the




             oses
                                                                        formulation is stable at about 5 + 3 ° C. for at least 18 months.
                                                                        In some embodiments, the formulation is stable at about
                                                                     60 5 + 3 ° C. for at least 24 months. In some embodiments , the
                                                                        formulation does not contain mannitol. In some embodi
                                  IZ                                    ments, the formulation does not contain silicon dioxide.
                                                                           In one aspect , the enalapril oral liquid formulation , com
                                                                        prises (i ) about 1 mg/ml enalapril maleate ; ( ii ) about 0.70
                             Enalapril
                                                                     65 mg /ml of a sweetener that is sucralose ; ( iii ) a buffer com
                                                                        prising about 1.82 mg/ ml citric acid ; (iv ) about 1 mg/ml of
                                                                        a preservative that is sodium benzoate ; and (v ) water ;
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  wherein the pH of the formulation is less than about 3.5 ; and adult . In some embodiments , the subject is elderly. In some
  wherein the formulation is stable at about 5 + 3 ° C. for at least embodiments, the subject is a child . In some embodiments,
  12 months.                                                         the formulation is administered to the subject in a fasted
     In some embodiments, the formulation further comprises state . In some embodiments, the formulation is administered
  a flavoring agent. In some embodiments , the buffer further 5 to the subject in a fed state . In some embodiments, the
  comprises about 0.15 mg /mL sodium citrate dihydrate. In formulation is further administered in combination with an
  some embodiments, the pH of the formulation is between agent selected from the group consisting of diuretics, beta
  about 3 and about 3.5 . In some embodiments, the pH of the blockers , alpha blockers , mixed alpha and beta blockers ,
  formulation is about 3.3 . In some embodiments, the citrate calcium channel blockers, angiotensin II receptor antago
  concentration in the buffer is about 5 mM to about 20 mM . 10 nists , ACE inhibitors, aldosterone antagonists, and alpha - 2
  In some embodiments, the citrate concentration in the buffer            agonists .
  is about 10 mM . In some embodiments , the formulation is                 Also provided herein are methods of treating prehyper
  stable at about 5 + 3 ° C. for at least 18 months . In some            tension in a subject comprising administering to that subject
  embodiments, the formulation is stable at about 5-3 ° C. for a therapeutically effective amount of enalapril oral liquid
  at least 24 months. In some embodiments, the formulation 15 formulation comprising ( i) about 1 mg/ml enalapril maleate ;
  does not contain mannitol. In some embodiments, the for (ii ) about 0.7 mg /ml of a sweetener that is sucralose ; (ii ) a
  mulation does not contain silicon dioxide .                            buffer comprising about 1.82 mg/ml citric acid and about
       In one aspect , the enalapril oral liquid formulation com 0.15 mg /ml sodium citrate dihydrate; ( iv ) about 1 mg/ml of
  prises (i ) about 19.3 % ( w / w of solids ) enalapril maleate ; (ii ) a preservative that is sodium benzoate ; and (v ) water ;
  about 13.5 % (w/w of solids ) of a sweetener that is sucralose; 20 wherein the pH of the formulation is less than about 3.5 ; and
  ( iii ) a buffer comprising about 35.2 % ( w / w of solids ) citric wherein the formulation is stable at about 5 + 3 ° C. for at least
  acid ; (iv ) about 19.3 % ( w / w of solids ) of a preservative that 12 months . In some embodiments , the formulation does not
  is sodium benzoate; and ( v ) water ; wherein the pH of the             contain mannitol. In some embodiments, the formulation
  formulation is less than about 3.5 ; and wherein the formu              does not contain silicon dioxide .
  lation is stable at about 5 + 3 ° C. for at least 12 months.       25   In some embodiments , the subject has blood pressure
    In some embodiments, the formulation further comprises                values of about 120-139 / 80-89 mm Hg .
  a flavoring agent. In some embodiments, the buffer further              Also provided herein are methods of treating heart failure
  comprises about 2.9 % ( w / w of solids ) sodium citrate dihy in a subject comprising administering to that subject a
  drate . In some embodiments, the pH of the formulation is therapeutically effective amount of enalapril oral liquid
  between about 3 and about 3.5 . In some embodiments, the 30 formulation comprising (i) about 1 mg/ml enalapril maleate;
  pH of the formulation is about 3.3 . In some embodiments, (ii ) about 0.70 mg /ml of a sweetener that is sucralose ; ( iii )
  the citrate concentration in the buffer is about 5 mM to about       a buffer comprising about 1.82 mg/ml citric acid and about
  20 mM . In some embodiments, the citrate concentration in 0.15 mg/ml sodium citrate dihydrate; ( iv ) about 1 mg/ml of
  the buffer is about 10 mM . In some embodiments, the a preservative that is sodium benzoate ; and (v ) water;
  formulation is stable at about 5 + 3 ° C. for at least 18 months. 35 wherein the pH of the formulation is less than about 3.5; and
  In some embodiments , the formulation is stable at about wherein the formulation is stable at about 5-3 ° C. for at least
  523 ° C. for at least 24 months . In some embodiments, the 12 months. In some embodiments, the formulation does not
  formulation does not contain mannitol. In some embodi                   contain mannitol. In some embodiments, the formulation
  ments , the formulation does not contain silicon dioxide.               does not contain silicon dioxide .
     In one aspect , the enalapril oral liquid formulation con- 40 Also provided herein are methods of treating left ven
  sists essentially of ( i ) about 1 mg/ml enalapril maleate ; (ii ) tricular dysfunction in a subject comprising administering to
  about 0.70 mg /ml of a sweetener that is sucralose ; ( iii ) a that subject a therapeutically effective amount of enalapril
  buffer comprising about 1.82 mg/ml citric acid and about oral liquid formulation comprising (i ) about 1 mg/ml enal
  0.15 mg/ml sodium citrate dihydrate ; ( iv ) about 1 mg/ml of april maleate ; (ii ) about 0.7 mg/ml of a sweetener that is
  a preservative that is sodium benzoate ; ( v ) a flavoring agent; 45 sucralose; ( iii ) a buffer comprising about 1.82 mg/ml citric
  and ( vi) water; wherein the pH of the formulation is less than acid and about 0.15 mg/ml sodium citrate dihydrate; ( iv )
  about 3.5 adjusted by sodium hydroxide or hydrochloric about 1 mg/ml of a preservative that is sodium benzoate ; and
  acid ; and wherein the formulation is stable at about 5 + 3 ° C.     ( v ) water ; wherein the pH of the formulation is less than
  for at least 12 months.                                                 about 3.5 ; and wherein the formulation is stable at about
    Also provided herein are methods of treating hypertension 50 5 + 3 ° C. for at least 12 months. In some embodiments, the
  in a subject comprising administering to that subject a                 formulation does not contain mannitol. In some embodi
  therapeutically effective amount of enalapril oral liquid               ments, the formulation does not contain silicon dioxide.
  formulation comprising ( i ) about 1 mg /ml enalapril maleate ;
  ( ii ) about 0.7 mg/ml sucralose; (iii ) a buffer comprising                         INCORPORATION BY REFERENCE
  about 1.82 mg/ml citric acid and about 0.15 mg /ml sodium 55
  citrate dihydrate; (iv) about 1 mg /ml of a preservative that is          All publications, patents, and patent applications men
  sodium benzoate ; and ( v ) water ; wherein the pH of the       tioned in this specification are herein incorporated by ref
  formulation is less than about 3.5 ; and wherein the formu      erence to the same extent as if each individual publication ,
  lation is stable at about 5 + 3 ° C. for at least 12 months. In patent, or patent application was specifically and individu
  some embodiments, the formulation does not contain man- 60 ally indicated to be incorporated by reference .
  nitol . In some embodiments, the formulation does not con
  tain silicon dioxide .                                                        BRIEF DESCRIPTION OF THE DRAWINGS
     In some embodiments, the hypertension is primary (es
  sential) hypertension. In some embodiments, the hyperten       The novel features of the invention are set forth with
  sion is secondary hypertension. In some embodiments, the 65 particularity in the appended claims . A better understanding
  subject has blood pressure values greater than or equal to              of the features and advantages of the present invention will
  140/90 mmm Hg . In some embodiments, the subject is an                  be obtained by reference to the following detailed descrip
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   tion that sets forth illustrative embodiments , in which the       ment of hypertension and other disorders . In particular, the
   principles of the invention are utilized , and the accompany       embodiments provide stable enalapril oral liquid formula
   ing drawings of which :                                            tions as well as alternatively enalapril powder formulations
      FIG . 1 : Effect of pH on degradant formation after 8 weeks for oral liquid administration .
   of storage of various enalapril solution formulations at 5 ° C. 5 As used herein , “ enalapril” refers to enalapril base , its
      FIG . 2 : Effect of pH on degradant formation after 8 weeks salt , or solvate or derivative or isomer or polymorph thereof.
   of storage of various enalapril solution formulations at room Suitable compounds include the free base , the organic and
   temperature ( 19-22 ° C. ) .                                       inorganic salts , isomers , isomer salts , solvates , polymorphs,
                                                                      complexes etc. U.S. Pat . Nos . 4,374,829 ; 4,472,380 and
                DETAILED DESCRIPTION OF THE                        10 4,510,083 disclose exemplary methods in the preparation of
                            INVENTION                                      enalapril. In some embodiments, the enalapril used in the
                                                                           formulations described herein is an enalapril salt . In some
      Provided herein are stable enalapril oral liquid formula             instances, the enalapril salt is enalapril maleate. In other
   tions . Also provided herein are stable enalapril powder                instances , the enalapril salt is in the form of enalapril
   formulations for reconstitution for oral liquid administra- 15 sodium .
   tion . These enalapril formulations described herein are use      Other ACE inhibitors are contemplated in the formula
   ful for the treatment of hypertension , prehypertension, heart tions within and include but are not limited to quinapril,
   failure as well as ventricular dysfunction. The formulations indolapril, ramipril, perindopril, lisinopril, benazepril, imi
   are advantageous over conventional solid dosage adminis       dapril, zofenopril, trandolapril, fosinopril, captopril, and
   tration of enalapril ranging from ease of administration , 20 their salts , solvates , derivatives, polymorphs, or complexes ,
   accuracy of dosing , accessibility to additional patient popu thereof.
   lations such as to children and the elderly, and an increased Enalauril Oral Liquid Formulations
   patient compliance to medication .                               Oral liquids include , but are not limited to , solutions ( both
      It is generally known that certain segments of the popu aqueous and nonaqueous ), suspensions , emulsions, syrups,
   lation have difficulty ingesting and swallowing solid oral 25 slurries, juices , elixirs , dispersions, and the like. It is envi
   dosage forms such as tablets and capsules. As many as a sioned that solution /suspensions are also included where
   quarter of the total population has this difficulty. Often, this certain components described herein are in a solution while
   leads to non - compliance with the recommended medical other components are in a suspension .
   therapy with the solid dosage forms, thereby resulting in           In one aspect , the enalapril liquid formulations described
   rending the therapy ineffective . Further, solid dosage forms 30 herein comprise enalapril, a preservative, a sweetening
   are not recommended for children or elderly due to agent, a buffer, and water . In one embodiment, the sweet
   increased risk in choking .                                      ening agent is sucralose . In one embodiment, the sweetening
      Furthermore, the dose of enalapril to be given to children agent is xylitol . In one embodiment, the sweetening agent is
   is calculated according to the child's weight. When the not mannitol. In another embodiment, the preservative is
   calculated dose is something other than the amount present 35 sodium benzoate . In some embodiments, the preservative is
   in one or more intact solid dosage forms, the solid dosage a paraben . In some embodiments, the preservative is a
   form must be divided to provide the correct dose . This leads           mixture of parabens. In yet another embodiment, the buffer
   to inaccurate dosing when solid dosages forms, such as                  comprises citric acid . In some embodiments, the buffer
   tablets , are compounded to prepare other formulations for              further comprises sodium citrate . In one aspect , the enalapril
   children .                                                           40 liquid formulation described herein comprises enalapril,
      For enalapril, one solution to overcoming the use of the             sucralose , sodium benzoate, citric acid , sodium citrate , and
   tablet form is for a compounding pharmacist to pulverize                water. In some embodiments, the enalapril liquid formula
   and crush the enalapril tablet ( s ) into a powder via mortar and       tion herein further comprises a flavoring agent. In some
   pestle and reconstitute the powder in some liquid form .                embodiments, the enalapril liquid formulation is not
   However forming a enalapril oral liquid in this fashion has          45 obtained from crushing enalapril tablet and dissolving the
   significant drawbacks including large variability in the                powder in a suitable vehicle for oral administration . In some
   actual dosage, incomplete solubilizing of the enalapril tablet          embodiments, the enalapril liquid formulation does not
   in the liquid , rapid instability , inconsistent formulation            contain silicon dioxide. In some embodiments, the enalapril
   methods per compounding pharmacy, and a number of other                 liquid formulation does not contain mannitol. In some
   potential issues . The crushed tablet liquid formulation may         50 embodiments, the enalapril liquid formulation does not
   also be potentially unsafe due to contamination with residual           contain lactose . In some embodiments, the enalapril liquid
   drugs and other substances from the mortar and pestle or                formulation does not contain magnesium stearate. In some
   other crushing agent.                                                   embodiments, the enalapril liquid formulation does not
      Alternatively, enalapril is formulated as enalapril powder           contain sodium bicarbonate . In some embodiments , the
   compositions for reconstitution as oral liquids as described         55 enalapril liquid formulation does not contain iron oxides.
   in U.S. Pat. No. 8,568,747 . The powder compositions as                    In some embodiments, enalapril or a pharmaceutically
   described in this patent require mannitol and colloidal                 acceptable salt thereof, is present in about 0.6 to about 1.2
   silicon dioxide for stability and dissolution . While these             mg /ml in the oral liquid formulation . In other embodiments,
   powder compositions are an improvement over crushing                    enalapril or a pharmaceutically acceptable salt thereof, is
   tablets , they still require a step ofmixing with a diluent. The     60 present in about 0.6 mg/ml, about 0.61 mg/ml, about 0.62
   stable enalapril oral liquid formulations described herein              mg/ml, about 0.63 mg /ml, about 0.64 mg/ml, about 0.65
   require no extra steps or manipulation prior to administra              mg /ml, about 0.66 mg /ml, about 0.67 mg/ml, about 0.68
   tion to a subject. Further, the stable enalapril oral liquid            mg/ml, about 0.69 mg /ml, about 0.7 mg /ml, about 0.71
   formulations described herein do not require or need man                mg /ml, about 0.72 mg /ml, about 0.73 mg/ml, about 0.74
   nitol or colloidal silicon dioxide for stability and dissolution .   65 mg/ml, about 0.75 mg /ml, about 0.76 mg/ml, about 0.77
      The present embodiments described herein provide a safe              mg/ml, about 0.78 mg/ml, about 0.79 mg/ml, about 0.8
   and effective oral administration of enalapril for the treat            mg/ml, about 0.81 mg /ml, about 0.82 mg/ml, about 0.83
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   mg/ml, about 0.84 mg /ml, about 0.85 mg/ml, about 0.86 ments, enalapril is present in about 10.5 % w / w of the solids
   mg /ml, about 0.87 mg/ml, about 0.88 mg /ml, about 0.89 in the oral liquid formulation . In some embodiments , enal
   mg/ml, about 0.9 mg/ml, about 0.91 mg /ml, about 0.92 april is present in about 15 % w/w of the solids in the oral
   mg/ml, about 0.93 mg /ml, about 0.94 mg /ml, about 0.95 liquid formulation . In some embodiments, enalapril is pres
   mg /ml, about 0.96 mg/ml, about 0.97 mg /ml, about 0.98 5 ent in about 18.2 % w/w of the solids in the oral liquid
   mg /ml, about 0.99 mg/ml , about 1 mg /ml, about 1.01 mg/ml, formulation. In some embodiments , enalapril maleate is
   about 1.02 , mg /ml, about 1.03 mg/ml, about 1.04 mg /ml, present in about 13.5 % w / w of the solids in the oral liquid
   about 1.05 mg/ml, about 1.06 mg/ml, about 1.07 mg/ml, formulation . In some embodiments, enalapril maleate is
   about 1.08 mg/ml, about 1.09 mg /ml, about 1.1 mg/ml, present in about 19.3 % w / w of the solids in the oral liquid
   about 1.11 mg /ml, about 1.12 , mg/ml , about 1.13 mg/ml, 10 formulation . In some embodiments, enalapril maleate is
   about 1.14 mg/ml, about 1.15 mg /ml, about 1.16 mg /ml, present in about 24.5 % w / w of the solids in the oral liquid
   about 1.17 mg/ml, about 1.18 mg /ml, about 1.19 mg/ml, or formulation .
   about 1.2 mg /ml in the liquid oral formulation . In some      In some embodiments, enalapril or a pharmaceutically
   embodiments, enalapril is present in about 0.76 mg/ml in the acceptable salt thereof, is present in about 0.1 % w/w to
   oral liquid formulation . In some embodiments, enalapril 15 about 1 % w / w of the solids in the oral liquid formulation . In
   maleate is present in about 1 mg/ml in the oral liquid other embodiments, enalapril or a pharmaceutically accept
   formulation . In some embodiments, the formulation con       able salt thereof, is present in about 0.1 % w / w , about 0.15 %
   tains enalapril or another pharmaceutically acceptable salt of w / w , about 0.2 % w / w , about 0.25 % w / w , about 0.3 % w / w ,
   enalapril in a molar concentration equivalent to 1 mg /mL about 0.35 % w / w , about 0.4 % w / w , about 0.45 % w / w , about
   enalapril maleate . In some embodiments, the formulation 20 0.5 % w / w , about 0.55 % w / w , about 0.6 % w / w , about 0.65 %
   contains enalapril or another pharmaceutically acceptable w / w , about 0.7 % w / w , about 0.75 % w / w , about 0.8 % w / w ,
   salt of enalapril in a molar concentration equivalent to 0.76 about 0.85 % w / w , about 0.9 % w / w , about 0.95 % w / w , or
   mg /mL enalapril.                                              about 1 % w / w of the solids in the oral liquid formulation . In
     In some embodiments, enalapril or a pharmaceutically some embodiments, enalapril or a pharmaceutically accept
   acceptable salt thereof, is present in about 0.5 % w/w to 25 able salt thereof, is present in about 0.4 % w / w to about 0.7 %
   about 30 % w/w of the solids in the oral liquid formulation . w / w of the solids in the oral liquid formulation . In some
   In other embodiments, enalapril or a pharmaceutically embodiments, enalapril is present in about 0.4 % w/w of the
   acceptable salt thereof, is present in about 0.5 % w / w , about solids in the oral liquid formulation. In some embodiments,
   1 % w / w , about 1.5 % w / w , about 2 % w / w , about 2.5 % w / w ,         enalapril is present in about 0.5 % w / w of the solids in the
   about 3 % w / w , about 3.5 % w / w , about 4 % w / w , about 4.5 % 30 oral liquid formulation . In some embodiments, enalapril
   w / w , about 5 % w / w , about 5.5 % w / w , about 6 % w / w , about         maleate is present in about 0.5 % w / w of the solids in the oral
   6.5 % w / w , about 7 % w / w , about 7.5 % w / w , about 8 % w / w ,         liquid formulation . In some embodiments, enalapril maleate
   about 8.5 % w / w , about 9 % w / w , about 9.5 % w / w , about 10 %          is present in about 0.6 % w / w of the solids in the oral liquid
   w / w , about 10.5 % w / w , about 11 % w / w , about 11.5 % w / w ,          formulation .
   about 12 % w / w , about 12.5 % w / w , about 13 % w / w , about         35   Sweetener in the Enalapril Oral Liquid Formulations
   13.5 % w / w , about 14 % w / w , about 14.5 % w / w , about 15 %                Sweeteners or sweetening agents include any compounds
   w / w , about 15.1 % w / w , about 15.2 % w / w , about 15.3 % w / w ,        that provide a sweet taste . This includes natural and syn
   about 15.4 % w / w , about 15.5 % w / w , about 15.6 % w / w ,                thetic sugars , natural and artificial sweeteners, natural
   about 15.7 % w / w , about 15.8 % w / w , about 15.9 % w / w ,                extracts and any material that initiates a sweet sensation in
   about 16 % w / w , about 16.1 % w /w , about 16.2 % w / w , about        40   a subject. In some embodiments, a solid /powder sweetener
   16.3 % w / w , about 16.4 % w / w , about 16.5 % w / w , about                is used in the oral liquid formulation described herein . In
   16.6 % w / w , about 16.7 % w / w , about 16.8 % w / w , about                other embodiments, a liquid sweetener is used in the oral
   16.9 % w / w , about 17 % w / w , about 17.1 % w / w , about 17.2 %           liquid formulation described herein .
   w / w , about 17.3 % w / w , about 17.4 % w / w , about 17.5 % w / w ,           Sugars illustratively include glucose, fructose, sucrose ,
   about 17.6 % w / w , about 17.7 % w / w , about 17.8 % w / w ,           45   xylitol , tagatose , sucralose, maltitol , isomaltulose, IsomaltTM
   about 17.9 % w / w , about 18 % w / w , about 18.1 % w / w , about            (hydrogenated isomaltulose ) , lactitol , sorbitol, erythritol,
   18.2 % w / w , about 18.3 % w / w , about 18.4 % w / w , about                trehalose , maltodextrin, polydextrose , and the like . Other
   18.5 % w / w , about 18.6 % w / w , about 18.7 % w / w , about                sweeteners illustratively include glycerin , inulin , erythritol,
   18.8 % w / w , about 18.9 % w / w , about 19 % w / w , about 19.1 %           maltol , acesulfame and salts thereof, e.g. , acesulfame potas
   w / w , about 19.2 % w / w , about 19.3 % w / w , about 19.4 % w / w ,   50   sium , alitame , aspartame, neotame, sodium cyclamate, sac
   about 19.5 % w / w , about 19.6 % w / w , about 19.7 % w / w ,                charin and salts thereof, e.g. , saccharin sodium or saccharin
   about 19.8 % w / w , about 19.9 % w / w , about 20 % w / w , about            calcium , neohesperidin dihydrochalcone, stevioside, thau
   20.1 % w / w , about 20.2 % w / w , about 20.3 % w / w , about                matin , and the like . Sweeteners can be used in the form of
   20.4 % w / w , about 20.5 % w / w , about 20.6 % w / w , about                crude or refined products such as hydrogenated starch
   20.7 % w / w , about 20.8 % w /w , about 20.9 % w / w , about 21 %       55   hydrolysates, maltitol syrup , high fructose corn syrup , etc.,
   w / w , about 21.1 % w / w , about 21.2 % w / w , about 21.3 % w / w ,        and as branded products, e.g. , Sweet AmTM liquid ( Product
   about 21.4 % w / w , about 21.5 % w / w , about 21.6 % w / w ,                Code 918.003 -propylene glycol , ethyl alcohol , and propri
   about 21.7 % w / w , about 21.8 % w / w , about 21.9 % w / w ,                etary artificial flavor combination, Flavors of North
   about 22 % w / w , about 22.5 % w / w , about 23 % w / w , about              America ) and Sweet AmTM powder (Product Code
   23.5 % w / w , about 24 % w / w , about 24.5 % w / w , about 25 %        60   918.005 — maltodextrin , sorbitol, and fructose combination
   w / w , about 25.5 % w / w , about 26 % w / w , about 26.5 % w / w ,          and Product Code 918.010 - water, propylene glycol , sor
   about 27 % w / w , about 27.5 % w / w , about 28 % w / w , about              bitol , fructose, and proprietary natural and artificial flavor
   28.5 % w / w , about 29 % w / w , about 29.5 % w / w , or about               combination , Flavors of North America ), ProSweetTM
   30 % w/w of the solids in the oral liquid formulation . In some ( 1-10 % proprietary plant/vegetable extract and 90-99 % dex
   embodiments , enalapril or a pharmaceutically acceptable 65 trose combination, Viriginia Dare ), MaltisweetTM (maltitol
   salt thereof, is present in about 10 % w / w to about 25 % w / w solution, Ingredion ), SorboTM ( sorbitol and sorbitol/xylitol
   of the solids in the oral liquid formulation . In some embodi solution , SPI Polyols ) , InvertoseTM ( high fructose corn
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                                    9                                                                          10
   syrup , Ingredion ), Rebalance M60 and X60 ( sucralose and mg /ml, about 160 mg/ml, about 165 mg/ml, about 170
   maltodextrin , Tate and Lyle ), and Ora - Sweet® sugar - free mg/ml, about 175 mg/ml, about 180 mg /ml, about 185
   flavored syrup ( Paddock Laboratories, Inc. ) . Sweeteners can mg/ml, about 190 mg /ml, about 195 mg /ml, about 200
   be used singly or in combinations of two or more . Suitable mg /ml, about 205 mg/ml, or about 210 mg/ml of the oral
   concentrations of different sweeteners can be selected based 5 liquid formulation . In some embodiments, xylitol is present
   on published information , manufacturers ' data sheets and by in about 150 mg /ml in the oral liquid formulation. In some
   routine testing.                                               embodiments, xylitol is present in about 200 mg/ml in the
      In some embodiments, the enalapril oral liquid formula oral liquid formulation .
   tion described herein comprises a sweetening agent. In some       In some embodiments, xylitol is present in about 80 %
   embodiments, the sweetening agent is sucralose . In some 10 w / w to about 99 % w/w of the solids in the oral liquid
   embodiments, the sweetening agent is xylitol . In some formulation. In other embodiments, xylitol is present in
   embodiments, the sweetener is not mannitol.                    about 80% w / w , about 81 % w / w , about 82 % w / w , about 83 %
      In some embodiments , the enalapril oral liquid formula                   w / w , about 84 % w / w , about 85 % w / w , about 86 % w / w ,
   tion described herein comprises sucralose . In some embodi                   about 87 % w / w , about 88 % w / w , about 89 % w / w , about 90 %
   ments, sucralose is present in about 0.5 to about 0.9 mg/ml 15 w / w , about 91 % w /w , about 92 % w / w , about 93 % w / w ,
   in the oral liquid formulation . In other embodiments, sucral                about 94 % w / w , about 95 % w / w , about 96 % w / w , about 97 %
   ose is present in about 0.51 mg/ml, about 0.52 mg /ml, about                 w / w , about 98 % w / w , or about 99 % w / w of the solids in the
   0.53 mg /ml, about 0.54 mg /ml, about 0.55 mg/ml, about                      oral liquid formulation . In some embodiments , xylitol is
   0.56 mg /ml, about 0.57 mg/ml, about 0.58 mg /ml, about                      present in about 96 % w / w to about 98 % w / w of the solids
   0.59 mg /ml, about 0.60 mg/ml, about 0.61 mg /ml, about                 20   in the oral liquid formulation . In some embodiments, xylitol
   0.62 mg/ml, about 0.63 mg /ml, about 0.64 mg/ml, about                       is present in about 96 % w/w of the solids in the oral liquid
   0.65 mg/ml, about 0.66 mg/ml, about 0.67 mg/ml, about                        formulation .
   0.68 mg /ml, about 0.69 mg/ml, about 0.70 mg/ml, about                       Preservative in the Enalapril Oral Liquid Formulations
   0.71 mg /ml, about 0.72 mg /ml, about 0.73 mg/ml, about                         Preservatives include anti -microbials, anti - oxidants, and
   0.74 mg/ml, about 0.75 mg/ml, about 0.76 mg/ ml, about                  25   agents that enhance sterility. Exemplary preservatives
   0.77 mg/ml, about 0.78 mg /ml, about 0.79 mg/ml, about                       include ascorbic acid , ascorbyl palmitate , BHA , BHT, citric
   0.80 mg /ml, about 0.81 mg /ml, about 0.82 mg/ml, about                      acid, EDTA and its salts , erythorbic acid, fumaric acid , malic
   0.83 mg/ml, about 0.84 mg /ml, about 0.85 mg/ml, about                       acid, propyl gallate , sodium ascorbate , sodium bisulfate ,
   0.86 mg /ml, about 0.87 mg/ml, about 0.88 mg /ml, about                      sodium metabisulfite, sodium sulfite, parabens ( such as
   0.89 mg/ml, or about 0.90 mg/ml in the oral liquid formu-               30   methylparaben , ethylparaben , propylparaben , butylparaben
   lation . In some embodiments, sucralose is present in about                  and their salts ) , benzoic acid , sodium benzoate, potassium
   0.7 mg/ml in the oral liquid formulation .                                   sorbate, vanillin , and the like .
      In some embodii nts, sucralose is present in about 1 %                       In some embodiments , the enalapril oral liquid formula
   w/w to about 30 % w / w of the solids in the oral liquid                     tion described herein comprises a preservative.
   formulation . In some embodiments, sucralose is present in              35      In some embodiments, the preservative is a paraben and
   about 1 % w / w , about 1.5 % w / w , about 2 % w / w , about 2.5 %          the sweetener is not a sugar ( such as , but not limited to
   w / w , about 3 % w / w , about 3.5 % w / w , about 4 % w / w , about        glucose , fructose, sucrose, lactose , maltose ) or a sugar
   4.5 % w / w , about 5 % w / w , about 5.5 % w / w , about 6 % w / w , alcohol ( such as , but not limited to xylitol , mannitol, lactitol ,
   about 6.5 % w / w , about 7 % w / w , about 7.5 % w / w , about 8 % maltitol , sorbitol ).
   w / w , about 8.5 % w / w , about 9 % w / w , about 9.5 % w / w , 40 In some embodiments , the preservative is sodium benzo
   about 10 % w / w , about 10.5 % w / w , about 11 % w / w , about ate .
   11.5 % w / w , about 12 % w / w , about 12.5 % w / w , about 13 %       In some embodiments, modulation of the pH is desired to
   w / w , about 13.5 % w / w , about 14 % w / w , about 14.5 % w / w , provide the best antimicrobial activity of the preservative,
   about 15 % w / w , about 15.5 % w / w , about 16 % w / w , about sodium benzoate. In some embodiments, the antimicrobial
   16.5 % w / w , about 17 % w / w , about 17.5 % w / w , about 18 % 45 activity of sodium benzoate drops when the pH is increased
   w / w , about 18.5 % w / w , about 19 % w / w , about 19.5 % w / w , above 5 .
   about 20 % w / w , about 20.5 % w / w , about 21 % w / w , about        In some embodiments, the pH of the enalapril oral liquid
   21.5 % w / w , about 22 % w / w , about 22.5 % w / w , about 23 %            formulation described herein is less than about 4. In some
   w / w , about 23.5 % w / w , about 24 % w / w , about 24.5 % w / w ,         embodiments, the pH of the enalapril oral liquid formulation
   about 25 % w / w , about 25.5 % w / w , about 26 % w / w , about 50 described herein is less than about 3.5 . In some embodi
   26.5 % w / w , about 27 % w / w , about 27.5 % w / w , about 28 % ments, the pH of the enalapril oral liquid formulation
   w / w , about 28.5 % w / w , about 29 % w / w , about 29.5 % w / w , described herein is between about 3 and about 4. In some
   or about 30% w / w of the solids in the oral liquid formula     embodiments, the pH of the enalapril oral liquid formulation
   tion . In some embodiments, sucralose is present in about 8 % described herein is between about 3 and about 3.5 . In some
   w/w to about 18 % w / w of the solids in the oral liquid 55 embodiments, the pH of the enalapril oral liquid formulation
   formulation. In some embodiments , sucralose is present in described herein is about 3 , about 3.1 , about 3.2 , about 3.3 ,
   about 9.5 % w / w of the solids in the oral liquid formulation. about 3.4 , about 3.5 , about 3.6 , about 3.7 , about 3.8 , about
   In some embodiments, sucralose is present in about 13.5 % 3.9 , or about 4. In some embodiments, the pH of the
   w/w of the solids in the oral liquid formulation . In some enalapril oral liquid formulation described herein is about
   embodiments, sucralose is present in about 16.5 % w / w of 60 3.3 .
   the solids in the oral liquid formulation .                      In some embodiments, sodium benzoate is present in
      In some embodiments, the enalapril oral liquid formula     about 0.2 to about 1.2 mg /ml in the oral liquid formulation .
   tion described herein comprises xylitol . In some embodi In other embodiments, sodium benzoate is present in about
   ments , xylitol is present in about 140 mg /ml to about 210 0.2 mg /ml, about 0.21 mg/ml, about 0.22 mg /ml, about 0.23
   mg /ml in the oral liquid formulation .                    65 mg/ml, about 0.24 mg /ml, about 0.25 mg/ml, about 0.26
      In some embodiments, xylitol is present in about 140 mg/ml, about 0.27 mg /ml, about 0.28 mg/ml, about 0.29
   mg/ml, about 145 mg/ml, about 150 mg /ml, about 155 mg /ml, about 0.3 mg /ml, about 0.31 mg /ml, about 0.32
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                                    11                                                                          12
   mg/ml, about 0.33 mg /ml, about 0.34 mg /ml, about 0.35                       w / w , about 25 % w / w , about 25.5 % w / w , about 26 % w / w ,
   mg /ml,   about 0.36 mg/ml, about 0.37 mg /ml, about 0.38 about 26.5 % w / w , about 27 % w / w , about 27.5 % w / w , about
   mg/ml,    about 0.39 mg /ml, about 0.4 mg /ml, about 0.41 28 % w / w , about 28.5 % w / w , about 29 % w / w , about 29.5 %
   mg/ml,    about 0.42 mg /ml, about 0.43 mg/ml, about 0.44 w / w , or about 30 % w / w of the solids in the oral liquid
   mg /ml,   about 0.45 mg/ml, about 0.46 mg /ml, about 0.47 5 formulation . In some embodiments, sodium benzoate is
   mg/ml,    about 0.48 mg /ml, about 0.49 mg/ml, about 0.5 present in about 10 % w / w to about 25 % w / w of the solids
   mg /ml,   about 0.51 mg /ml, about 0.52 mg/ml, about 0.53 in the oral liquid formulation . In some embodiments, sodium
   mg/ml,    about 0.54 mg /ml, about 0.55 mg/ml, about 0.56 benzoate is present in about 13.5 % w/w of the solids in the
   mg/ml,    about 0.57 mg /ml, about 0.58 mg/ml, about 0.59 oral liquid formulation . In some embodiments, sodium ben
   mg /ml,   about 0.6 mg/ml, about 0.61 mg /ml, about 0.62 10 zoate is present in about 19.3 % w / w of the solids in the oral
   mg /ml,   about 0.63 mg/ml, about 0.64 mg /ml, about 0.65 liquid formulation . In some embodiments, sodium benzoate
   mg/ml,    about 0.66 mg/ml, about 0.67 mg/ml, about 0.68 is present in about 23.5 % w / w of the solids in the oral liquid
   mg /ml,   about 0.69 mg/ml, about 0.7 mg/ml, about 0.71 formulation .
   mg /ml,   about 0.72 mg/ml, about 0.73 mg /ml, about 0.74       In some embodiments , sodium benzoate is present in
   mg/ml,    about 0.75 mg /ml, about 0.76 mg /ml, about 0.77 15 about 0.1 % w / w to about 1 % w / w of the solids in the oral
   mg/ml,    about 0.78 mg/ml, about 0.79 mg /ml, about 0.8 liquid formulation . In other embodiments , sodium benzoate
   mg/ml,    about 0.81 mg /ml, about 0.82 mg /ml, about 0.83 is present in about 0.1 % w / w , about 0.15 % w / w , about 0.2 %
   mg /ml, about 0.84 mg/ml, about 0.85 mg /ml, about 0.86 w / w , about 0.25 % w / w , about 0.3 % w / w , about 0.35 % w / w ,
   mg/ml, about 0.87 mg/ml, about 0.88 mg/ml, about 0.89 about 0.4 % w / w , about 0.45 % w / w , about 0.5 % w / w , about
   mg /ml, about 0.9 mg/ml, about 0.91 mg /ml, about 0.92 20 0.55 % w / w , about 0.6 % w / w , about 0.65 % w / w , about 0.7 %
   mg/ml, about 0.93 mg/ml, about 0.94 mg/ml, about 0.95 w / w , about 0.75 % w / w , about 0.8 % w / w , about 0.85 % w / w ,
   mg/ml, about 0.96 mg/ml, about 0.97 mg/ml, about 0.98 about 0.9 % w / w , about 0.95 % w / w , or about 1 % w / w of the
   mg/ml, about 0.99 mg/ml , about 1 mg/ml, about 1.01 mg/ml, solids in the oral liquid formulation. In some embodiments,
   about 1.02 , mg /ml, about 1.03 mg/ml, about 1.04 mg /ml, sodium benzoate is present in about 0.4 % w/w to about 0.7 %
   about 1.05 mg/ml, about 1.06 mg /ml, about 1.07 mg /ml, 25 w / w of the solids in the oral liquid formulation . In some
   about 1.08 mg /ml, about 1.09 mg /ml, about 1.1 mg /ml, embodiments , sodium benzoate is present in about 0.45 %
   about 1.11 mg /ml, about 1.12 , mg/ml , about 1.13 mg/ml, w / w of the solids in the oral liquid formulation . In some
   about 1.14 mg/ml, about 1.15 mg/ml, about 1.16 mg/ml, embodiments, sodium benzoate is present in about 0.6 %
   about 1.17 mg/ml, about 1.18 mg /ml, about 1.19 mg /ml, or w / w of the solids in the oral liquid formulation .
   about 1.2 mg/ml in the liquid oral formulation . In some 30 In some embodiments, sodium benzoate is present in an
   embodiments, sodium benzoate is present in about 1 mg/ml amount sufficient to provide antimicrobial effectiveness to
   in the oral liquid formulation .                           the enalapril oral liquid formulation described herein . ( See
      In some embod ts , sodium benzoate is present in Table G- 1 ) .
   about 1 % w/w to about 30 % w/w of the solids in the oral                       In some embodiments, the preservative is a paraben . In
   liquid formulation . In other embodiments, sodium benzoate 35 some embodiments, the preservative is a mixture of para
   is present in about 1 % w / w , about 1.5 % w / w , about 2 % w / w ,         bens. In some embodiments, the paraben or mixture of
   about 2.5 % w / w , about 3 % w / w , about 3.5 % w / w , about 4 %           parabens is present in about 0.1 mg/ml to about 2 mg/ ml in
   w / w , about 4.5 % w / w , about 5 % w / w , about 5.5 % w / w ,             the oral liquid formulation. In other embodiments , the
   about 6 % w / w , about 6.5 % w / w , about 7 % w / w , about 7.5 %           paraben or mixture of parabens is present in about 0.1
   w / w , about 8 % w / w , about 8.5 % w / w , about 9 % w / w , about 40      mg/ml, about 0.2 mg/ml, about 0.3 mg/ml , about 0.4 mg/ml,
   9.5 % w / w , about 10% w / w , about 10.5 % w / w , about 11 %               about 0.5 mg/ml, about 0.6 mg/ml, about 0.7 mg /ml, about
   w / w , about 11.5 % w / w , about 12 % w / w , about 12.5 % w / w ,          0.8 mg /ml, about 0.9 mg/ml, about 1 mg /ml, about 1.1
   about 13 % w / w , about 13.5 % w / w , about 14 % w / w , about              mg /ml, about 1.2 mg/ml, about 1.3 mg/ml , about 1.4 mg /ml,
   14.5 % w / w , about 15 % w / w , about 15.1 % w / w , about 15.2 %           or about 1.5 mg /ml, about 1.6 mg /ml, about 1.7 mg/ml,
   w / w , about 15.3 % w / w , about 15.4 % w / w , about 15.5 % w / w ,   45   about 1.8 mg/ml, about 1.9 mg/ml, or about 2 mg /ml in the
   about 15.6 % w / w , about 15.7 % w / w , about 15.8 % w / w ,                liquid oral formulation . In some embodiments, the paraben
   about 15.9 % w / w , about 16 % w / w , about 16.1 % w / w , about            or mixture of parabens is present in about 1.6 mg/ml to about
   16.2 % w / w , about 16.3 % w / w , about 16.4 % w / w , about                2 mg /ml in the oral liquid formulation . In some embodi
   16.5 % w / w , about 16.6 % w / w , about 16.7 % w / w , about                ments, the paraben or mixture of parabens is present in about
   16.8 % w / w , about 16.9 % w / w , about 17 % w / w , about 17.1 %      50   1.6 mg /ml to about 1.8 mg /ml in the oral liquid formulation.
   w / w , about 17.2 % w / w , about 17.3 % w / w , about 17.4 % w / w ,        In some embodiments, the paraben or mixture of parabens is
   about 17.5 % w / w , about 17.6 % w / w , about 17.7 % w / w ,                present in about 0.1 mg /ml to about 0.5 mg /ml in the oral
   about 17.8 % w / w , about 17.9 % w / w , about 18 % w / w , about            liquid formulation.
   18.1 % w / w , about 18.2 % w / w , about 18.3 % w / w , about                   In some embodiments, the paraben or mixture of parabens
   18.4 % w / w , about 18.5 % w / w , about 18.6 % w / w , about           55   is present in about 2 % w / w to about 30% w/w of the solids
   18.7 % w / w , about 18.8 % w / w , about 18.9 % w / w , about 19 %           in the oral liquid formulation . In other embodiments, the
   w / w , about 19.1 % w / w , about 19.2 % w / w , about 19.3 % w / w ,        paraben or mixture of parabens is present in about 2 % w / w ,
   about 19.4 % w / w , about 19.5 % w / w , about 19.6 % w / w ,              about 3 % w / w , about 4 % w / w , about 5 % w / w , about 6 %
   about 19.7 % w / w , about 19.8 % w / w , about 19.9 % w / w ,              w / w , about 7 % w / w , about 8 % w / w , about 9 % w / w , about
   about 20 % w / w , about 20.1 % w / w , about 20.2 % w / w , about       60 10% w / w , about 11 % w / w , about 12 % w / w , about 13 % w / w ,
   20.3 % w / w , about 20.4 % w / w , about 20.5 % w / w , about              about 14 % w / w , about 15 % w / w , about 16 % w / w , about 17 %
   20.6 % w / w , about 20.7 % w / w , about 20.8 % w / w , about              w / w , about 18 % w / w , about 19 % w / w , about 20 % w / w ,
   20.9 % w / w , about 21 % w / w , about 21.1 % w / w , about 21.2 %         about 21 % w / w , about 22 % w / w , about 23 % w / w , about 24 %
   w / w , about 21.3 % w / w , about 21.4 % w / w , about 21.5 % w / w ,      w / w , about 25 % w / w , about 26 % w / w , about 27 % w / w ,
   about 21.6 % w / w , about 21.7 % w / w , about 21.8 % w / w ,           65 about 28 % w / w , about 29 % w / w , or about 30 % w / w of the
   about 21.9 % w / w , about 22 % w / w , about 22.5 % w / w , about          solids in the oral liquid formulation . In some embodiments ,
   23 % w / w , about 23.5 % w / w , about 24 % w / w , about 24.5 %           the paraben or mixture of parabens is present in about 2 %
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   w/w to about 3 % w / w of the solids in the oral liquid
   formulation . In some embodiments, the paraben or mixture
   of parabens is present in about 23 % w/w to about 26 % w / w
   of the solids in the oral liquid formulation . In some embodi
   ments, the paraben or mixture of parabens is present in about 5
   26 % w / w to about 30 % w/w of the solids in the oral liquid                                                        O;
   formulation .
   Sweetener and Preservative Incompatibility
      Paraben preservatives ( especially methylparaben ) can
   react with selected sugars ( glucose , fructose , sucrose , lac- 10
   tose , maltose) and sugar alcohols (xylitol, mannitol, lactitol ,
   maltitol , sorbitol) to form transesterification reaction prod                           enalapril diketopiperazine
   ucts . This can be undesirable from a formulation and sta
   bility standpoint as the transesterification creates additional
   degradants.                                                       15
      In some embodiments, the enalapril oral liquid formula
   tion described herein does not comprise a paraben preser
   vative . In further embodiments , the enalapril oral liquid                                          CH3
   formulation described herein does not comprise a paraben
   preservative when the formulation also comprises a sugar or 20                   ?? ,
   sugar alcohol .
   pH of Enalapril Oral Liquid Formulations
      Buffering agents maintain the pH of the liquid enalapril                                                    HO
   formulation . Non -limiting examples of buffering agents                                       enalaprilat
   include , but are not limited to sodium bicarbonate , potas- 25
   sium bicarbonate, magnesium hydroxide, magnesium lac
   tate , magnesium glucomate, aluminum hydroxide, alumi                  In some embodiments, the percentage of enalaprilat for
   num hydroxide / sodium bicarbonate co -precipitate, mixture mation is increased when the pH is above 3.5 . ( See table C - 2
   of an amino acid and a buffer, a mixture of aluminum and FIG . 1 and FIG . 2 ) . In some embodiments , the percent
   glycinate and a buffer, a mixture of an acid salt of an amino 30 age of enalapril diketopiperazine formation is slightly
   acid and a buffer, and a mixture of an alkali salt of an amino
   acid and a buffer. Additional buffering agents include citric increasedIn some
                                                                                  as the pH is below 4 .
                                                                                   embodiments, the pH of the enalapril oral liquid
      id , sodium        te , sodium tartarate , sodium acetate ,
   sodium carbonate , sodium polyphosphate, potassium poly embodimentsdescribed
                                                                        formulation             herein is less than about 4. In some
                                                                                     , the pH of the enalapril oral liquid formulation
   phosphate , sodium pyrophosphate , potassium pyrophos- 35 described herein is less than about 3.5 . In some embodi
   phate, disodium hydrogenphosphate , dipotassium hydrogen
   phosphate , trisodium phosphate , tripotassium phosphate, ments , the pH of the enalapril oral liquid formulation
   sodium acetate, potassium metaphosphate, magnesium described herein is between about 3 and about 4. In some
   oxide , magnesium hydroxide, magnesium carbonate , mag embodiments , the pH of the enalapril oral liquid formulation
   nesium silicate, calcium acetate , calcium glycerophosphate, 40 described herein is between about 3 and about 3.5 . In some
                                                                   embodiments, the pH of the enalapril oral liquid formulation
   calcium chloride , calcium hydroxide, calcium lactate, cal
   cium carbonate, calcium bicarbonate, and other calcium described herein is about 3 , about 3.1 , about 3.2 , about 3.3 ,
   salts . Some buffering agents also impart effervescent quali     about 3.4 , about 3.5 , about 3.6 , about 3.7 , about 3.8 , about
   ties when a powder is reconstituted in a solution . In some 3.9 , or about 4. In some embodiments, the pH of the
   embodiments , the buffering agent is not sodium bicarbonate . 45 enalapril oral liquid formulation described herein is about
      In some embodiments, the oral liquid formulation com          3.3 .
   prises a buffer.                                                    In some embodiments, the formation of degradants is
      In some embodiments, the buffer in the enalapril oral dependent on the buffer concentration. In some embodi
   liquid formulation described herein comprises citric acid . In ments, the buffer concentration impacts the taste of the
   some embodiments, the buffer in the enalapril oral liquid 50 enalapril oral liquid formulation.
   formulation described herein comprises citric acid and          In some embodiments, the buffer concentration is
   sodium citrate . In some embodiments, the buffer in the       between about 5 mM and about 20 mM . In some embodi
   enalapril oral liquid formulation described herein comprises ments, the buffer concentration is about 5 mM , about 6 mM ,
   citric acid and sodium citrate dihydrate or an equivalent about 7 mM , about 8 mM , about 9 mM , about 10 mM , about
   molar amount of sodium citrate anhydrous. In some embodi- 55 11 mM , about 12 mM , about 13 mm , about 14 mM , about
   ments, the sodium citrate is monosodium citrate . In some 15 mM , about 16 mM , about 17 mM , about 18 mM , about
   embodiments, the sodium citrate is disodium citrate . In some 19 mm , or about 20 mM . In some embodiments, the buffer
   embodiments, the sodium citrate is trisodium citrate .        concentration is about 5 mM . In some embodiments, the
      In some embodiments, the buffer in the enalapril oral buffer concentration is about 10 mM . In some embodiments,
   liquid formulation described herein comprises phosphoric 60 the buffer concentration is about 20 mM .
   acid . In some embodiments, the buffer in the enalapril oral      In some embodiments, citric acid is present in about 0.7
   liquid formulation described herein comprises sodium phos to about 2 mg/ml in the oral liquid formulation. In other
   phate.                                                          embodiments, citric acid is present in about 0.7 mg/ml,
      In some embodiments, modulation of the pH is desired to about 0.71 mg/ml , about 0.72 mg/ml, about 0.73 mg/ml,
   provide a lowered impurity profile. In the exemplary stabil- 65 about 0.74 mg/ml , about 0.75 mg/ml, about 0.76 mg/ml,
   ity studies, the main enalapril degradants are enalapril about 0.77 mg/ml , about 0.78 mg /ml, about 0.79 mg/ml,
   diketopiperazine and enalaprilat:                               about 0.8 mg/ml, about 0.81 mg /ml, about 0.82 mg /ml,
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                                  15                                                                           16
   about 0.83 mg/ml, about 0.84 mg /ml, about 0.85 mg /ml,                    w / w , about 35 % w / w , about 36 % w / w , about 37 % w / w ,
   about 0.86 mg/ml, about 0.87 mg/ml, about 0.88 mg/ml,                      about 38 % w / w , about 39 % w / w , about 40 % w / w , about 41 %
   about 0.89 mg /ml, about 0.9 mg/mL , about 0.91 mg/mL ,                    w / w , about 42 % w / w , about 43 % w / w , about 44 % w / w ,
   about 0.92 mg /mL , about 0.93 mg/mL , about 0.94 mg/mL ,                  about 45 % w / w , about 46 % w / w , about 47 % w / w , about 48 %
   about 0.95 mg/mL , about 0.96 mg/mL , about 0.97 mg /mL , 5 w / w , about 49 % w / w , about 50 % w/w of the solids in the oral
   about 0.98 mg/mL , about 0.99 mg/mL , about 1 mg/mL , liquid formulation . In some embodiments, citric acid is
   about 1.11 mg/ml, about 1.12 mg /ml, about 1.13 mg/ml, present in about 45 % w/w of the solids in the oral liquid
   about 1.14 mg/ml, about 1.15 mg/ml, about 1.16 mg /ml, formulation. In some embodiments, citric acid is present in
   about 1.17 mg/ml, about 1.18 mg/ml, about 1.19 mg/ml, about 31 % w / w of the solids in the oral liquid formulation.
   about  1.2 mg/ml, about 1.21 mg/ml, about 1.22 mg/ml, 10 In some embodiments, citric acid is present in about 35 %
   about 1.23 mg/ml, about 1.24 mg /ml, about 1.25 mg /ml, w / w of the solids in the oral liquid formulation . In some
   about 1.26 mg /ml, about 1.27 mg /ml, about 1.28 mg/ml,
   about 1.29 mg/ml, about 1.3 mg/mL, about 1.31 mg/mL , embodiments           , citric acid is present in about 19 % w/w of the
   about 1.32 mg/mL , about 1.33 mg/mL , about 1.34 mg /mL , solids     in the oral liquid formulation .
   about 1.35 mg/mL , about 1.36 mg/mL , about 1.37 mg /mL , 15 In some embodiments, citric acid is present in about 1 %
   about 1.38 mg /mL , about 1.39 mg/mL , about 1.4 mg/ml, w / w to about 5 % w/w of the solids in the oral liquid
   about 1.41 mg/ml, about 1.42 mg/ml, about 1.43 mg/ml, formulation . In other embodiments, citric acid is present in
   about 1.44 mg /ml, about 1.45 mg /ml, about 1.46 mg/ml,                    about 1 % w / w , about 1.1 % w / w , about 1.2 % w / w , about
   about 1.47 mg/ml, about 1.48 mg/ml, about 1.49 mg /ml,                     1.3 % w / w , about 1.4 % w / w , about 1.5 % w / w , about 1.6 %
   about 1.5 mg/ml, about 1.51 mg/ml, about 1.52 mg/ml, 20 w /w , about 1.7 % w / w , about 1.8 % w /w , about 1.9 % w /w ,
   about 1.53 mg/ml, about 1.54 mg/ml, about 1.55 mg/ml,                      about 2 % w / w , about 2.1 % w / w , about 2.2 % w / w , about
   about 1.56 mg/ml, about 1.57 mg/ml, about 1.58 mg/ml,                      2.3 % w / w , about 2.4 % w / w , about 2.5 % w / w , about 2.6 %
   about 1.59 mg/ml, about 1.6 mg /mL , about 1.61 mg /mL ,                   w / w , about 2.7 % w / w , about 2.8 % w / w , about 2.9 % w / w ,
   about 1.62 mg/mL , about 1.63 mg/mL , about 1.64 mg /mL ,                  about 3 % w / w , about 3.1 % w / w , about 3.2 % w / w , about
   about 1.65 mg/mL , about 1.66 mg/mL , about 1.67 mg /mL ,             25   3.3 % w / w , about 3.4 % w / w , about 3.5 % w / w , about 3.6 %
   about 1.68 mg/mL , about 1.69 mg/mL , about 1.7 mg /ml,                    w / w , about 3.7 % w / w , about 3.8 % w / w , about 3.9 % w / w ,
   about 1.71 mg/ml, about 1.72 mg /ml, about 1.73 mg/ml,                     about 4 % w / w , about 4.1 % w / w , about 4.2 % w / w , about
   about 1.74 mg /ml, about 1.75 mg /ml, about 1.76 mg/ml,                    4.3 % w / w , about 4.4 % w / w , about 4.5 % w / w , about 4.6 %
   about 1.77 mg/ml, about 1.78 mg/ml, about 1.79 mg /ml,                     w / w , about 4.7 % w / w , about 4.8 % w / w , about 4.9 % w / w , or
   about 1.8 mg /ml, about 1.81 mg/ml, about 1.82 mg /ml,                30   about 5 % w / w of the solids in the oral liquid formulation. In
   about 1.83 mg /ml, about 1.84 mg /ml, about 1.85 mg/ml,                    some embodiments , citric acid is present in about 2.1 % w / w
   about 1.86 mg/ml, about 1.87 mg/ml, about 1.88 mg /ml,                     of the solids in the oral liquid formulation . In some embodi
   about 1.89 mg /ml, about 1.9 mg/mL , about 1.91 mg/mL ,                    ments, citric acid is present in about 1.6 % w / w of the solids
   about 1.92 mg/mL , about 1.93 mg/mL , about 1.94 mg /mL ,                  in the oral liquid formulation .
   about 1.95 mg/mL , about 1.96 mg /mL , about 1.97 mg /mL ,            35      In some embodiments, sodium citrate dihydrate is present
   about 1.98 mg /mL , about 1.99 mg/mL , or about 2 mg/mL in                 in about 0.1 to about 0.8 mg/ml in the oral liquid formula
   the oral liquid formulation . In some embodiments , citric acid            tion . In other embodiments, sodium citrate dihydrate is
   is present in about 1.65 mg /ml in the oral liquid formulation .           present in the oral liquid formulation is about 0.1 mg/mL ,
   In some embodiments, citric acid is present in about 1.82                  about 0.11 mg/mL, about 0.12 mg /mL , about 0.13 mg /mL,
   mg/ml in the oral liquid formulation . In some embodiments ,          40   about 0.14 mg/mL, about 0.15 mg /ml, about 0.16 mg /mL ,
   citric acid is present in about 0.82 mg /ml in the oral liquid             about 0.17 mg/mL , about 0.18 mg/mL, about 0.19 mg/mL ,
   formulation .                                                              about 0.2 mg /ml, about 0.21 mg/ml, about 0.22 mg /ml,
      In some embodiments, citric acid is present in about 2 to               about 0.23 mg/ml , about 0.24 mg/ml, about 0.25 mg/ml,
   about 3.5 mg/ml in the oral liquid formulation . In other                  about 0.26 mg/ml , about 0.27 mg/ml, about 0.28 mg/ml,
   embodiments, citric acid is present in about 2 mg /mL , about         45   about 0.29 mg/ml, about 0.3 mg /ml, about 0.31 mg /ml,
   2.05 mg/mL , about 2.1 mg/mL, about 2.15 mg/mL , about                     about 0.32 mg/ml , about 0.33 mg/ml, about 0.34 mg/ml,
   2.2 mg/mL , about 2.25 mg /mL , about 2.3 mg /mL, about                    about 0.35 mg/ml , about 0.36 mg /ml, about 0.37 mg/ml,
   2.35 mg/mL , about 2.4 mg/mL, about 2.45 mg/mL , about                     about 0.38 mg/ml, about 0.39 mg/ml, about 0.4 mg/ml,
   2.5 mg /mL , about 2.55 mg/mL , about 2.6 mg/mL, about                     about 0.41 mg/ml , about 0.42 mg/ml, about 0.43 mg/ml,
   2.65 mg/mL , about 2.7 mg/mL, about 2.75 mg /mL, about                50   about 0.44 mg/ml , about 0.45 mg /ml, about 0.46 mg /ml,
   2.8 mg /mL , about 2.85 mg/mL, about 2.9 mg/mL, about                      about 0.47 mg/ml , about 0.48 mg/ml, about 0.49 mg/ml,
   2.95 mg/mL , about 3 mg /mL , about 3.05 mg/ml, about 3.1                  about 0.5 mg /ml, about 0.51 mg/ml, about 0.52 mg/ml,
   mg /mL , about 3.15 mg /mL , about 3.2 mg /mL , about 3.25                 about 0.53 mg/ml , about 0.54 mg/ml, about 0.55 mg /ml,
   mg /mL , about 3.3 mg /mL , about 3.35 mg/mL , about 3.4                   about 0.56 mg/ml , about 0.57 mg/ml, about 0.58 mg/ml,
   mg/mL , about 3.45 mg/mL, or about 3.5 mg/mL in the oral              55   about 0.59 mg/ml, about 0.6 mg /ml, about 0.61 mg /ml,
   liquid formulation . In some embodiments, citric acid is                   about 0.62 mg/ml , about 0.63 mg/ml, about 0.64 mg/ml,
   present in about 3.3 mg/ml in the oral liquid formulation .                about 0.65 mg/ml , about 0.66 mg/ml, about 0.67 mg/ml,
      In some embodiments, citric acid is present in about 10 %               about 0.68 mg/ml, about 0.69 mg /ml, about 0.7 mg/ml,
   w/w to about 50 % w / w of the solids in the oral liquid                   about 0.71 mg/ml , about 0.72 mg/ml, about 0.73 mg /ml,
   formulation . In other embodiments, citric acid is present in         60   about 0.74 mg/ml , about 0.75 mg /ml, about 0.76 mg/ml,
   about 10 % w / w , about 11 % w / w , about 12 % w / w , about 13 %      about 0.77 mg/ml, about 0.78 mg /ml, about 0.79 mg/ml, or
   w / w , about 14 % w / w , about 15 % w / w , about 16 % w / w ,         about 0.8 mg /ml in the oral liquid formulation . In some
   about 17 % w / w , about 18 % w / w , about 19 % w / w , about 20 %      embodiments, sodium citrate dihydrate is present in about
   w / w , about 21 % w / w , about 22 % w / w , about 23 % w / w ,         0.75 mg/ml in the oral liquid formulation . In some embodi
   about 24 % w / w , about 25 % w / w , about 26 % w /w , about 27 %    65 ments, sodium citrate dihydrate is present in about 0.35
   w / w , about 28 % w / w , about 29 % w / w , about 30 % w / w ,         mg /ml in the oral liquid formulation . In some embodiments ,
   about 31 % w / w , about 32 % w / w , about 33 % w / w , about 34 %      sodium citrate dihydrate is present in about 0.2 mg /ml in the
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   oral liquid formulation . In some embodiments , sodium cit                 cinnamon , cacao , orange , peppermint, cherry (in particular
   rate dihydrate is present in about 0.15 mg /ml in the oral                 wild cherry ), grape , bubblegum , vanilla, and mixed berry .
   liquid formulation .                                                         In some embodiments, the enalapril liquid formulation
      In some embodiments, sodium citrate dihydrate is present                described herein comprises a mixed berry flavoring agent.
   in about 1 % w / w to about 15 % w / w of the solids in the oral 5 Flavoring agents can be used singly or in combinations of
   liquid formulation . In other embodiments, sodium citrate two or more .
   dihydrate is present in about 1 % w / w , about 1.1 % w / w , about   In further embodiments, the enalapril liquid formulation
   1.2 % w / w , about 1.3 % w / w , about 1.4 % w / w , about 1.5 % comprises a coloring agent for identity and /or aesthetic
   w / w , about 1.6 % w / w , about 1.7 % w / w , about 1.8 % w / w , purposes. Suitable coloring agents illustratively include
   about 1.9 % w / w , about 2 % w / w , about 2.1 % w / w , about 10 FD & C Red No. 3 , FD & C Red No. 20 , FD & C Red No. 40 ,
   2.2 % w / w , about 2.3 % w / w , about 2.4 % w / w , about 2.5 % FD & C Yellow No. 6 , FD & C Blue No. 2 , FD & C Green No.
   w / w , about 2.6 % w / w , about 2.7 % w / w , about 2.8 % w / w , 5 , FD & C Orange No. 5 , caramel, ferric oxide and mixtures
   about 2.9 % w / w , about 3 % w / w , about 3.1 % w / w , about thereof.
   3.2 % w / w , about 3.3 % w / w , about 3.4 % w / w , about 3.5 %         Thickeners impart viscosity or weight to the resultant
   w / w , about 3.6 % w / w , about 3.7 % w / w , about 3.8 % w / w , 15 liquid forms from the enalapril formulation described
   about 3.9 % w / w , about 4 % w / w , about 4.5 % w / w , about 5 % herein . Exemplary thickeners include dextrin , cellulose
   w / w , about 5.5 % w / w , about 6 % w / w , about 6.5 % w / w , derivatives ( carboxymethylcellulose and its salts , ethylcel
   about 7 % w / w , about 7.5 % w / w , about 8 % w / w , about 8.5 % lulose, hydroxyethyl cellulose, methylcellulose, hypromel
   w / w , about 9 % w / w , about 9.5 % w / w , about 10 % w / w , about lose , and the like ) starches, pectin, polyethylene glycol ,
   10.5 % w / w , about 11 % w / w , about 11.5 % w / w , about 12 % 20 polyethylene oxide , trehalose and certain gums ( xanthan
   w / w , about 12.5 % w / w , about 13 % w / w , about 13.5 % w / w ,       gum , locust bean gum , etc. ). In certain embodiments, the
   about 14 % w / w , about 14.5 % w / w , about 15 % w / w of the            enalapril liquid formulation comprises a thickener .
   solids in the oral liquid formulation . In some embodiments,                  Additional excipients are contemplated in the enalapril
   sodium citrate dihydrate is present in about 10.5 % w / w of liquid formulation embodiments . These additional excipi
   the solids in the oral liquid formulation . In some embodi- 25 ents are selected based on function and compatibility with
   ments, sodium citrate dihydrate is present in about 7.5 % the enalapril liquid formulations described herein and may
   w/w of the solids in the oral liquid formulation . In some be found, for example in Remington : The Science and
   embodiments, sodium citrate dihydrate is present in about Practice of Pharmacy , Nineteenth Ed ( Easton , Pa .: Mack
   4.5 % w/w of the solids in the oral liquid formulation . In Publishing Company, 1995 ) ; Hoover, John E. , Remington's
   some embodiments, sodium citrate dihydrate is present in 30 Pharmaceutical Sciences, ( Easton , Pa .: Mack Publishing Co
   about 2.9 % w / w of the solids in the oral liquid formulation . 1975 ) ; Liberman , H. A. and Lachman , L. , Eds . , Pharma
      In other embodiments, sodium citrate dihydrate is not ceutical Dosage Forms (New York , N.Y .: Marcel Decker
   added the formulation .                                          1980 ) ; and Pharmaceutical Dosage Forms and Drug Deliv
   Additional Excipients                                            ery Systems, Seventh Ed (Lippincott Williams & Wilkins
      In further embodiments , the enalapril liquid formulation            35 1999 ) , herein incorporated by reference in their entirety .
   described herein comprises additional excipients including,                Stability
   but not limited to , glidants, flavoring agents, coloring agents              The main enalapril degradants are enalapril diketopipera
   and thickeners. Additional excipients such as bulking agents ,             zine and enalaprilat.
   tonicity agents and chelating agents are within the scope of                  The enalapril oral liquid formulations described herein are
   the embodiments .                                                       40 stable in various storage conditions including refrigerated ,
      Glidants are substances that improve flowability of a                   ambient and accelerated conditions . Stable as used herein
   powder. Suitable glidants include, but are not limited to ,                refers to enalapril oral liquid formulations having about 95 %
   calcium phosphate tribasic , calcium silicate, cellulose (pow              or greater of the initial enalapril amount and about 5 % w / w
   dered ), colloidal silicon dioxide , magnesium silicate , mag              or less total impurities or related substances at the end of a
   nesium trisilicate, silicon dioxide , starch , talc and the like . In   45 given storage period. The percentage of impurities is calcu
   some embodiments, the enalapril powder formulations                        lated from the amount of impurities relative to the amount of
   described herein comprise a glidant. In some embodiments                   enalapril. Stability is assessed by HPLC or any other known
   the glidant is not colloidal silicon dioxide .                             testing method . In some embodiments, the stable enalapril
      In another embodiment, the enalapril liquid formulation                 oral liquid formulations have about 5 % w / w , about 4 % w / w ,
   comprises a flavoring agent or flavorant to enhance the taste           50 about 3 % w /w , about 2.5 % w / w , about 2 % w / w , about 1.5 %
   or aroma of the formulation in liquid form . Suitable natural              w / w , about 1 % w / w , or about 0.5 % w/w total impurities or
   or synthetic flavoring agents can be selected from standard                related substances. In other embodiments , the stable enal
   reference books , for example Fenaroli's Handbook of Flavor                april oral liquid formulations have about 5 % w/w total
   Ingredients, 3rd edition ( 1995 ) . Non - limiting examples of impurities or related substances . In yet other embodiments ,
   suitable natural flavors , some of which can readily be 55 the stable enalapril oral liquid formulations have about 4 %
   simulated with synthetic agents or combinations thereof, w / w total impurities or related substances . In yet other
   include almond, anise , apple , apricot, bergamot, blackberry, embodiments, the stable enalapril oral liquid formulations
   blackcurrant, blueberry, cacao , caramel, cherry, cinnamon , have about 3 % w / w total impurities or related substances . In
   clove , coffee, coriander, cranberry, cumin , dill , eucalyptus, yet other embodiments, the stable enalapril oral liquid
    fennel, fig, ginger, grape , grapefruit, guava, hop , lemon , 60 formulations have about 2 % w / w total impurities or related
   licorice , lime , malt , mandarin , molasses , nutmeg , mixed substances. In yet other embodiments, the stable enalapril
   berry, orange, peach , pear, peppermint, pineapple , raspberry, oral liquid formulations have about 1 % w / w total impurities
   rose , spearmint, strawberry, tangerine, tea , vanilla, winter or related substances.
   green , etc. Also useful, particularly where the formulation is           At refrigerated condition, the enalapril oral liquid formu
   intended primarily for pediatric use , is tutti - frutti or bubble- 65 lations described herein are stable for at least 1 month , at
   gum flavor, a compounded flavoring agent based on fruit least 2 months, at least 3 months, at least 6 months, at least
   flavors . Presently preferred flavoring agents include anise ,             9 months, at least 12 months, at least 15 months, at least 18
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   months, at least 24 months, at least 30 months and at least 15.5 % w / w , about 16 % w / w , about 16.5 % w / w , about 17 %
   36 months. In some embodiments, refrigerated condition is w / w , about 17.5 % w / w , about 18 % w / w , about 18.5 % w / w ,
   5 + 3 ° C. In some embodiments , refrigerated condition is about 19 % w / w , about 19.5 % w / w , about 20% w / w , about
   about 2 ° C. , about 2.1 ° C. , about 2.2 ° C. , about 2.3 ° C. , 20.5 % w / w , about 21 % w / w , about 21.5 % w / w , about 22 %
   about 2.4 ° C. , about 2.5 ° C. , about 2.6 ° C. , about 2.7 ° C. , 5 w / w , about 22.5 % w / w , about 23 % w / w , about 23.5 % w / w ,
   about 2.8 ° C. , about 2.9 ° C. , about 3 ° C. , about 3.1 ° C. , about 24 % w / w , about 24.5 % w / w , about 25 % w / w , about
   about 3.2 ° C. , about 3.3 ° C. , about 3.4 ° C. , about 3.5 ° C. , 25.5 % w / w , about 26 % w / w , about 26.5 % w / w , about 27 %
   about 3.6 ° C. , about 3.7 ° C. , about 3.8 ° C. , about 3.9 ° C. , w / w , about 27.5 % w / w , about 28 % w / w , about 28.5 % w / w ,
   about 4 ° C. , about 4.1 ° C. , about 4.2 ° C. , about 4.3 ° C. , about 29 % w / w , about 29.5 % w / w , or about 30% w / w of the
   about 4.4 ° C. , about 4.5 ° C. , about 4.6 ° C. , about 4.7 ° C. , 10 powder formulation . In some embodiments, enalapril or a
   about 4.8 ° C. , about 4.9 ° C. , about 5 ° C. , about 5.1 ° C. , pharmaceutically acceptable salt thereof, is present in about
   about 5.2 ° C. , about 5.3 ° C. , about 5.4 ° C. , about 5.5 ° C. , 10% w / w to about 25 % w / w of the powder formulation. In
   about 5.6 ° C. , about 5.7 ° C. , about 5.8 ° C. , about 5.9 ° C. , some embodiments, enalapril maleate is present in about
   about 6 ° C. , about 6.1 ° C. , about 6.2 ° C. , about 6.3 ° C. , 13.5 % w/w of the powder formulation . In some embodi
   about 6.4 ° C. , about 6.5 ° C. , about 6.6 ° C. , about 6.7 ° C. , 15 ments, enalapril maleate is present in about 19.5 % w / w of
   about 6.8 ° C. , about 6.9 ° C. , about 7 ° C. , about 7.1 ° C. , the powder formulation . In some embodiments , enalapril
   about 7.2 ° C. , about 7.3 ° C. , about 7.4 ° C. , about 7.5 ° C. , maleate is present in about 24.5 % w/w of the powder
   about 7.6 ° C. , about 7.7 ° C. , about 7.8 ° C. , about 7.9 ° C. , or formulation. In some embodiments, enalapril is present in
   about 8 ° C. At accelerated conditions, the enalapril oral about 10.5 % w / w of the powder formulation . In some
   liquid formulations described herein are stable for at least 1 20 embodiments, enalapril is present in about 14.5 % w / w of the
   month , at least 2 months, at least 3 months, at least 4 months, powder formulation . In some embodiments, enalapril is
   at least 5 months, at least 6 months, at least 7 months, at least present in about 18 % w / w of the powder formulation .
   8 months, at least 9 months, at least 10 months, at least 11               In some embodiments, enalapril or a pharmaceutically
   months or at least 12 months. Accelerated conditions for the             acceptable salt thereof, is present in about 0.1 % w/w to
   enalapril oral liquid formulations described herein include 25 about 1 % w / w of the powder formulation . In other embodi
   temperature and / or relative humidity (RH ) that are at or ments, enalapril or a pharmaceutically acceptable salt
   above ambient levels ( e.g. 25 + 5 ° C .; 55 : 10 % RH ) . In some thereof, is present in about 0.1 % w / w , about 0.15 % w / w ,
   instances, an accelerated condition is at about 25 ° C. , about about 0.2 % w / w , about 0.25 % w / w , about 0.3 % w / w , about
   30 ° C. , about 35 ° C. , about 40 ° C. , about 45 ° C. , about 50 ° 0.35 % w / w , about 0.4 % w / w , about 0.45 % w / w , about 0.5 %
   C. , about 55 ° C. or about 60 ° C. In other instances, an 30 w / w , about 0.55 % w / w , about 0.6 % w / w , about 0.65 % w / w ,
   accelerated condition is above 55 % RH , about 65 % RH ,                 about 0.7 % w / w , about 0.75 % w / w , about 0.8 % w / w , about
   about 70 % RH , about 75 % RH or about 80% RH . In further               0.85 % w / w , about 0.9 % w / w , about 0.95 % w / w , or about 1 %
   instances, an accelerated condition is about 40 ° C. or 60 ° C.          w / w of the powder formulation . In some embodiments,
   at ambient humidity. In yet further instances , an accelerated           enalapril or a pharmaceutically acceptable salt thereof, is
   condition is about 40 ° C. at 75 + 5 % RH humidity.                   35 present in about 0.4 % w / w to about 0.7 % w / w of the powder
   Enalapril Oral Powder Formulation                                        formulation . In some embodiments, enalapril maleate is
      In another aspect , enalapril oral liquid formulations                present in about 0.45 % w / w of the powder formulation . In
   described herein are prepared from the reconstitution of an              some embodiments, enalapril maleate is present in about
   enalapril powder formulation . In some embodiments , the                 0.6 % w/w of the powder formulation . In some embodi
   enalapril powder formulation comprising enalapril, a sweet-           40 ments, enalapril is present in about 0.4 % w / w of the powder
   ener, a preservative, and optionally an excipient is dissolved           formulation. In some embodiments, enalapril is present in
   in water, a buffer, other aqueous solvent, or a liquid to form           about 0.5 % w / w of the powder formulation .
   an enalapril oral liquid formulation . In one embodiment, the               Various amounts and concentrations of other components
   sweetening agent is sucralose. In one embodiment, the                    ( sweeteners, buffers, preservatives, and the like) in the
   sweetener is not mannitol. In one embodiment, the sweet-              45 enalapril powder formulations are found in the previous
   ening agent is xylitol. In another embodiment, the preser                section describing the amounts and concentrations for the
   vative is sodium benzoate . In one embodiment, the preser                analogous enalapril oral liquid formulations. For example, in
   vative is a paraben preservative. In one aspect , the enalapril          some embodiments where sucralose is present in about 1 %
   powder formulation described herein comprises enalapril,                 w / w to about 30 % w/w of the solids in the oral liquid
   sucralose, and sodium benzoate . In some embodiments, the             50 formulation; in an analogous enalapril powder formulation ,
   enalapril powder formulation herein further comprises a                  sucralose would be about 1 % w/w to about 30 % w/w in the
   flavoring agent. In some embodiments, the enalapril powder               powder formulation . In some embodiments where sodium
   formulation herein further comprises one or more buffering               benzoate is present in about 1 % w / w to about 30 % w / w of
   agents .                                                                 the solids in the oral liquid formulation , in an analogous
      In some embodiments, enalapril or a pharmaceutically               55 enalapril powder formulation sodium benzoate is present in
   acceptable salt thereof, is present in about 0.5 % w/w to                about 1 % w/w to about 30% w / w in the powder formulation .
   about 30 % w/w of the powder formulation . In other embodi                   Liquid vehicles suitable for the enalapril powder formu
   ments , enalapril or a pharmaceutically acceptable salt                  lations to be reconstituted into an oral solution described
   thereof, is present in about 0.5 % w / w , about 1 % w / w , about       herein are selected for a particular oral liquid formulation
   1.5 % w / w , about 2 % w / w , about 2.5 % w / w , about 3 % w / w , 60 ( solution , suspension , etc. ) as well as other qualities such as
   about 3.5 % w / w , about 4 % w / w , about 4.5 % w / w , about 5 %      clarity, toxicity, viscosity, compatibility with excipients,
   w / w , about 5.5 % w / w , about 6 % w / w , about 6.5 % w / w , chemical inertness, palatability , odor, color and economy.
   about 7 % w / w , about 7.5 % w / w , about 8 % w / w , about 8.5 % Exemplary liquid vehicles include water, ethyl alcohol ,
   w / w , about 9 % w / w , about 9.5 % w / w , about 10 % w / w , about glycerin , propylene glycol , syrup ( sugar or other sweetener
   10.5 % w / w , about 11 % w / w , about 11.5 % w / w , about 12 % 65 based , e.g. , Ora - Sweet® SF sugar -free flavored syrup ),
   w / w , about 12.5 % w / w , about 13 % w / w , about 13.5 % w / w , juices (apple , grape, orange, cranberry, cherry, tomato and
   about 14 % w / w , about 14.5 % w / w , about 15 % w / w , about the like ), other beverages (tea, coffee , soft drinks, milk and
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   the like) , oils ( olive , soybean, corn , mineral, castor and the mixed berry. Flavoring agents can be used singly or in
   like) , and combinations or mixtures thereof. Certain liquid combinations of two or more .
   vehicles, e.g. , oil and water, can be combined together to          In further embodiments, the enalapril powder formulation
   form emulsions. In some embodiments , water is used for as described herein comprises a coloring agent for identity
   a vehicle for a enalapril oral liquid formulation . In other 5 and / or aesthetic purposes. Suitable coloring agents illustra
   embodiments, a syrup is used for as vehicle for a enalapril tively include FD & C Red No. 3 , FD & C Red No. 20 , FD & C
   oral liquid formulation . In yet other embodiments, a juice is Red No. 40 , FD & C Yellow No. 6 , FD & C Blue No. 2 , D & C
   used for as a vehicle for a enalapril oral liquid formulation . Green No. 5 , D & C Orange No. 5 , caramel, ferric oxide and
      Buffering agents maintain the pH of the liquid enalapril mixtures thereof.
   formulation . Non - limiting examples of buffering agents 10 In further embodiments , the enalapril powder formulation
   include , but are not limited to sodium bicarbonate , potas        described herein comprises a thickener. Thickeners impart
   sium bicarbonate , magnesium hydroxide, magnesium lac viscosity or weight to the resultant liquid forms from the
   tate , magnesium gluconate , aluminum hydroxide, aluminum enalapril formulation described herein . Exemplary thicken
   hydroxide / sodium bicarbonate co precipitate, mixture of an ers include dextrin , cellulose derivatives (carboxymethyl
   amino acid and a buffer, a mixture of aluminum glycinate 15 cellulose and its salts , ethylcellulose, hydroxyethyl cellu
   and a buffer, a mixture of an acid salt of an amino acid and                lose , methylcellulose, hypromellose, and the like ) starches ,
   a buffer, and a mixture of an alkali salt of an amino acid and              pectin, polyethylene glycol , polyethylene oxide , trehalose
   a buffer. Additional buffering agents include citric acid ,                 and certain gums ( xanthan gum , locust bean gum , etc. ) .
   sodium citrate, sodium tartrate , sodium acetate , sodium                     Additional excipients are contemplated in the enalapril
   carbonate, sodium polyphosphate, potassium polyphos- 20 powder formulation embodiments. These additional excipi
   phate, sodium pyrophosphate, potassium pyrophosphate, ents are selected based on function and compatibility with
   disodium hydrogenphosphate, dipotassium hydrogenphos the the enalapril powder formulation described herein and
   phate, trisodium phosphate, tripotassium phosphate, sodium may be found, for example in Remington : The Science and
   acetate, potassium metaphosphate, magnesium oxide , mag Practice of Pharmacy , Nineteeth Ed ( Easton, Pa .: Mack
   nesium hydroxide, magnesium carbonate, magnesium sili- 25 Publishing Company, 1995 ) ; Hoover, John E. , Remington's
   cate , calcium acetate , calcium glycerophosphate, calcium Pharmaceutical Sciences, ( Easton , Pa .: Mack Publishing Co
   chloride, calcium hydroxide, calcium lactate , calcium car                  1975 ) ; Liberman , H. A. and Lachman , L. , Eds . , Pharma
   bonate , calcium bicarbonate, and other calcium salts . Some                ceutical Dosage Forms (New York, N.Y .: Marcel Decker
   buffering agents also impart effervescent qualities when a                  1980 ) ; and Pharmaceutical Dosage Forms and Drug Deliv
   powder is reconstituted in a solution .                                  30 ery Systems, Seventh Ed ( Lippincott Williams & Wilkins
      In some embodiments , the reconstituted oral liquid for                  1999 ) , herein incorporated by reference in their entirety.
   mulation comprises a buffer. In some embodiments, the                          In some embodiments, the enalapril oral liquid formula
   buffer comprises citric acid and sodium citrate .                           tion prepared from the powder formulations described
   In further embodiments, the enalapril powder formulation                    herein are homogenous . Homogenous liquids as used herein
   described herein comprises additional excipients including,              35 refer to those liquids that are uniform in appearance , identity ,
   but not limited to , glidants, flavoring agents, coloring agents            consistency and drug concentration per volume. Non -ho
   and thickeners. Additional excipients such as bulking agents ,              mogenous liquids include such liquids that have varied
   tonicity agents and chelating agents are within the scope of                coloring , viscosity and / or aggregation of solid particulates ,
   the embodiments .                                                           as well as non -uniform drug concentration in a given unit
      Glidants are substances that improve flowability of a                 40 volume. Homogeneity in liquids are assessed by qualitative
   powder. Suitable glidants include, but are not limited to ,                 identification or appearance tests and / or quantitative HPLC
   calcium phosphate tribasic , calcium silicate, cellulose (pow               testing or the like . The mixing methods and excipients
   dered ), colloidal silicon dioxide, magnesium silicate , mag                described herein are selected to impart a homogenous qual
   nesium trisilicate , silicon dioxide , starch , talc and the like . In      ity to a resultant enalapril oral liquid formulation .
   some embodiments, the enalapril powder formulations                      45 Mixing methods encompass any type of mixing that result
   described herein comprise a glidant.                                        in a homogenous enalapril oral liquid formulation . In some
      In another embodiment, the enalapril powder formulation                  embodiments, a quantity of an enalapril powder formulation
   described herein comprises a flavoring agent or flavorant to                is added to a liquid vehicle and then mixed by a stirring,
   enhance the taste or aroma of the formulation in liquid form .              shaking, swirling, agitation element or a combination
   Suitable natural or synthetic flavoring agents can be selected           50 thereof. In certain instances, a fraction of a enalapril powder
   from standard reference books , for example Fenaroli's                      formulation (i.e. , one -half, one -third, one - fourth , etc.) is
   Handbook of Flavor Ingredients, 3rd edition ( 1995 ) . Non                  added to a liquid vehicle, mixed by stirring, shaking, swirl
   limiting examples of suitable natural flavors, some of which        ing , agitation or a combination thereof, and the subsequent
   can readily be simulated with synthetic agents or combina           powder fraction ( s ) is added and mixed . In other embodi
   tions thereof, include almond , anise , apple , apricot, berga-  55 ments, a liquid vehicle is added to an enalapril powder
   mot , blackberry, blackcurrant, blueberry, cacao , caramel,         formulation in a container, for example, a bottle , vial , bag ,
   cherry , cinnamon , clove , coffee , coriander, cranberry, cumin ,  beaker, syringe, or the like . The container is then mixed by
   dill , eucalyptus, fennel, fig, ginger, grape, grapefruit, guava ,  stirring, shaking, swirling, agitation, inversion or a combi
   hop , lemon , licorice , lime , malt , mandarin , molasses , nut nation thereof. In certain instances, a fractional volume of
   meg , mixed berry, orange, peach, pear, peppermint, pine- 60 the liquid vehicle (i.e. , one -half, one -third , one - fourth vol
   apple, raspberry, rose , spearmint, strawberry , tangerine, tea , ume , etc. ) is added to a enalapril powder formulation in a
   vanilla , wintergreen , etc. Also useful, particularly where the container, mixed by stirring, shaking, swirling, agitation ,
   formulation is intended primarily for pediatric use , is tutti inversion or a combination thereof, and the subsequent
   frutti or bubblegum flavor, a compounded flavoring agent liquid fraction ( s) is added and mixed . In certain instances , a
   based on fruit flavors . Presently preferred flavoring agents 65 one -half fractional volume of the liquid vehicle is added to
   include anise , cinnamon, cacao , orange, peppermint, cherry an enalapril powder formulation in a container and mixing
   ( in particular wild cherry ), grape , bubblegum , vanilla , and            by shaking ; the other one-half fractional volume of the
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   liquid vehicle is then subsequently added and mixed . In any              Kits and Articles of Manufacture
   of the above embodiments , mixing (i.e. , stirring, shaking,                For the enalapril powder and liquid formulations
   swirling , agitation, inversion or a combination thereof)                 described herein , kits and articles of manufacture are also
   occurs for a certain time intervals such as about 10 seconds ,            described . Such kits can comprise a carrier, package , or
   about 20 seconds , about 30 seconds, about 45 seconds , about 5           container  that is compartmentalized to receive one or more
                                                                             containers such as vials , tubes , and the like , each of the
   60 seconds, about 90 seconds , about 120 seconds, about 2.5               container ( s) comprising one of the separate elements to be
   minutes, about 3 minutes, about 3.5 minutes , about 4 min                 used in a method described herein including an enalapril
   utes , or about 5 minutes. In embodiments, where there are                powder or liquid formulation . Suitable containers include,
   two or more mixing steps , the time intervals for each mixing        10   for example, bottles , vials , syringes, and test tubes. The
   can be the same (e.g. , 2x10 seconds ) or different (e.g. , 10            containers can be formed from a variety of materials such as
   seconds for first mixing and 20 seconds for second mixing) .              glass or plastic .
   In any of the above embodiments, a enalapril oral liquid                     A kit will typically may comprise one or more additional
   formulation is allowed to stand for a period of time such as              containers, each with one or more of various materials ( such
   about 10 minutes, about 20 minutes, about 30 minutes, about               as reagents , optionally in concentrated form , and / or devices )
   45 minutes, about 1 hour, about 1.5 hours or about 2 hours, 15 desirable
                                                                  enalapril
                                                                            from a commercial and user standpoint for an
                                                                            powder or liquid formulation described herein .
   to allow any air bubbles resultant from any of the mixing             Non - limiting examples of such materials include , but not
   methods to dissipate .                                                limited to , buffers, diluents, filters, needles , syringes; carrier,
   Stability of Enalapril Powder Formulation                             package , container, vial and / or tube labels listing contents
      The enalapril powder formulations described herein are 20 and /or instructions for use , and package inserts with instruc
   stable in various storage conditions including refrigerated , tions for use associated with an enalapril powder or liquid
   ambient and accelerated conditions. Stable as used herein formulation . A set of instructions will also typically be
   refer to enalapril powder formulations having about 95 % or included .
   greater of the initial enalapril amount and 5 % w/w or less              A label can be on or associated with the container. A label
   total impurities or related substances at the end of a given 25 can be on a container when letters, numbers or other
   storage period. The percentage of impurities is calculated characters forming the label are attached, molded or etched
   from the amount of impurities relative to the amount of into               the container itself; a label can be associated with a
                                                                         container when it is present within a receptacle or carrier that
   enalapril. Stability is assessed by HPLC or any other known also           holds the container, e.g. , as a package insert. A label can
   testing method . In some embodiments, the stable enalapril
   powder formulations have about 5 % w /w, about 4% wlw , 30 bespecific    used therapeutic
                                                                                   to indicate that the contents      are tocanbealsousedindicate
                                                                                                                                            for a
   about 3 % w / w , about 2.5 % w / w , about 2 % w / w , about 1.5 % directions for use ofapplication       . The label
   w / w , about 1 % w / w , or about 0.5 % w / w total impurities or described herein . the contents, such as in the methods
   related substances. In other embodiments, the stable enal Methods
   april powder formulations have about 5 % w/w total impu 35 Provided herein , in one aspect , are methods of treatment
   rities or related substances . In yet other embodiments, the comprising              administration of the enalapril oral liquid for
   stable enalapril powder formulations have about 4 % w / w mulations described                  herein to a subject. In some embodi
   total impurities or related substances. In yet other embodi ments, the enalapril oral liquid formulations described
   ments, the stable enalapril powder formulations have about herein treat hypertension in a subject. Hypertension as used
   3 % w/w total impurities or related substances. In yet other 40 herein includes both primary ( essential) hypertension and
   embodiments, the stable enalapril powder formulations have secondary hypertension. In certain instances, hypertension is
   about 2 % w / w total impurities or related substances. In yet classified in cases when blood pressure values are greater
   other embodiments, the stable enalapril powder formula than or equal to 140/90 ( systolic /diastolic ) mm Hg in a
   tions have about 1 % w/w total impurities or related sub              subject. In certain instances , the enalapril oral liquid formu
   stances.                                                           45 lations described herein treat a subject having a blood
      At refrigerated and ambient conditions, in some embodi pressure values are greater than or equal to 140/90 mm Hg .
   ments, the enalapril powder formulations described herein In certain instances, the enalapril oral liquid formulations
   are stable for at least 1 week , 2 weeks , 4 weeks, 6 weeks , 8 described herein treat primary ( essential) hypertension in a
   weeks, 10 weeks , 12 weeks , 16 weeks, 20 weeks , at least 24 subject. In other instances, the enalapril oral liquid formu
   weeks, at least 30 weeks , or at least 36 weeks . At accelerated 50 lations described herein treat secondary hypertension in a
   conditions , in some embodiments, the enalapril powder subject.
   formulations described herein are stable for at least 1 week ,       In other embodiments, the enalapril oral liquid formula
   at least 2 weeks , at least 3 weeks, at least 4 weeks , at least tions described herein treat prehypertension in a subject.
   5 weeks , at least 6 weeks, at least 7 weeks , at least 8 weeks , Prehypertension as used herein refers to cases where a
   at least 9 weeks , at least 10 weeks , at least 11 weeks or at 55 subject's blood pressure is elevated above normal but not to
   least 12 weeks. Accelerated conditions for the enalapril the level considered to be hypertension . In some instances ,
   powder formulations described herein include temperature             prehypertension is classified in cases when blood pressure
   and / or relative humidity (RH ) that are above ambient levels values are 120-139 / 80-89 mm Hg . In certain instances, the
   ( e.g. 25 + 4 ° C .; 55 : 10 % RH ) . In some instances, an accel enalapril oral liquid formulations described herein treat a
   erated condition is at about 30 ° C. , about 35 ° C. , about 40 ° 60 subject having blood pressure values of 120-139 / 80-89 mm
   C. , about 45 ° C. , about 50 ° C. , about 55 ° C. or about 60 ° C. Hg .
   In other instances, an accelerated condition is above 65 %             In yet other embodiments, the enalapril oral liquid for
   RH , about 70% RH , about 75 % RH or about 80% RH . In mulations described herein are prophylactically adminis
   further instances, an accelerated condition is about 40 ° C. or tered to subjects suspected of having , predisposed to , or at
   60 ° C. at ambient humidity. In yet further instances , an 65 risk of developing hypertension . In some embodiments, the
   accelerated condition is about 40 ° C. at 75 + 5 % RH humid          administration of enalapril oral liquid formulations
   ity.                                                                 described herein allow for early intervention prior to onset
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   of hypertension . In certain embodiments , upon detection of     about 0.01 mg , about 0.05 mg , about 0.1 mg , about 0.2 mg ,
   a biomarker, environmental, genetic factor, or other marker,     about 0.4 mg , about 0.6 mg , about 0.8 mg , about 1 mg , about
   the enalapril oral liquid formulations described herein are      1.5 mg, about 2 mg, about 2.5 mg , about 3 mg, about 4 mg,
   prophylactically administered to subjects .                      about 5 mg , about 6 mg , about 7 mg , about 8 mg , about 9
      In further embodiments, the enalapril oral liquid formu- 5 mg , about 10 mg , about 11 mg , about 12 mg , about 15 mg ,
   lations described herein treat heart failure (e.g. , symptomatic about 20 mg , about 25 mg , about 30 mg , about 35 mg , about
   congestive ) , asymptomatic left ventricular dysfunction, 40 mg , about 45 mg , about 50 mg , about 55 mg , about 60
   myocardial infarction, diabetic nephropathy and chronic mg , about 65 mg , about 70 mg , about 76 , mg , about 80 mg ,
   renal failure. In certain instances , the enalapril oral liquid about 85 mg , about 90 mg or about 100 mg , or any range
   formulations described herein treat symptomatic congestive 10 derivable therein . In certain instances, the enalapril oral
   heart failure . In other instances, the enalapril oral liquid liquid formulations described herein are provided in a dose
   formulations described herein treat asymptomatic left ven               per day of about 1 mg . In certain instances, the enalapril oral
   tricular dysfunction. In further instances, the enalapril oral          liquid formulations described herein are provided in a dose
   liquid formulations described herein treat myocardial infarc            per day of about 2 mg . In certain instances, the enalapril oral
   tion . In yet further instances , the enalapril oral liquid for- 15     liquid formulations described herein are provided in a dose
   mulations described herein treat diabetic nephropathy. In yet           per day of about 3 mg . In certain instances , the enalapril oral
   further instances , the enalapril oral liquid formulations              liquid formulations described herein are provided in a dose
   described herein treat chronic renal failure .                          per day of about 4 mg . In certain instances , the enalapril oral
   Dosing                                                                  liquid formulations described herein are provided in a dose
       In one aspect , the enalapril oral liquid formulations are     20   per day of about 5 mg . In certain instances , the enalapril oral
   used for the treatment of diseases and conditions described             liquid formulations described herein are provided in a dose
   herein . In addition , a method for treating any of the diseases        per day of about 6 mg . In certain instances , the enalapril oral
   or conditions described herein in a subject in need of such             liquid formulations described herein are provided in a dose
   treatment, involves administration of enalapril oral liquid             per day of about 7 mg . In certain instances, the enalapril oral
   formulations in therapeutically effective amounts to said          25   liquid formulations described herein are provided in a dose
   subject.                                                                per day of about 8 mg . In certain instances, the enalapril oral
       Dosages of enalapril oral liquid formulations described             liquid formulations described herein are provided in a dose
   can be determined by any suitable method . Maximum tol                  per day of about 9 mg . In certain instances, the enalapril oral
   erated doses ( MTD ) and maximum response doses ( MRD )                 liquid formulations described herein are provided in a dose
   for enalapril and / or enalaprilat can be determined via estab-    30   per day of about 10 mg . In certain instances, the enalapril
   lished animal and human experimental protocols as well as               oral liquid formulations described herein are provided in a
   in the examples described herein . For example, toxicity and            dose per day of about 11 mg . In certain instances , the
   therapeutic efficacy of enalapril and /or enalaprilat can be            enalapril oral liquid formulations described herein are pro
   determined by standard pharmaceutical procedures in cell                vided in a dose per day of about 12 mg . The dose per day
   cultures or experimental animals , including, but not limited      35   described herein can be given once per day or multiple times
   to , for determining the LD50 ( the dose lethal to 50% of the           per day in the form of sub - doses given b.i.d. , t.i.d. , q.i.d. , or
   population ) and the ED50 ( the dose therapeutically effective          the like where the number of sub - doses equal the dose per
   in 50 % of the population ). The dose ratio between the toxic           day.
   and therapeutic effects is the therapeutic index and it can be  In further embodiments, the daily dosages appropriate for
   expressed as the ratio between LDs, and ED 30. Enalapril 40 the enalapril oral liquid formulations described herein are
   dosages exhibiting high therapeutic indices are of interest . from about 0.01 to about 1.0 mg /kg per body weight . In one
   The data obtained from cell culture assays and animal embodiment, the daily dosages appropriate for the enalapril
   studies can be used in formulating a range of dosage for use            oral liquid formulations are from about 0.02 to about 0.8
   in human . The dosage of such compounds lies preferably mg/kg enalapril per body weight. In another embodiment,
   within a range of circulating concentrations that include the 45 the daily dosage appropriate for the enalapril oral liquid
   ED50 with minimal toxicity. The dosage may vary within formulations are from about 0.05 to about 0.6 mg/kg per
   this range depending upon the dosage form employed and body weight. In another embodiment, the daily dosage
   the route of administration utilized . Additional relative dos   appropriate for the enalapril oral liquid formulations is about
   ages , represented as a percent of maximal response or of 0.05 mg /kg, about 0.06 mg /kg, about 0.07 mg /kg, about 0.08
   maximum tolerated dose , are readily obtained via the pro- 50 mg /kg, about 0.10 mg/kg, about 0.15 mg /kg, about 0.20
   tocols .                                                         mg /kg, about 0.25 mg/kg, about 0.30 mg/kg, about 0.40
      In some embodiments, the amount of a given enalapril mg/kg, about 0.50 mg /kg, or about 0.60 mg/kg.
   oral liquid formulation that corresponds to such an amount          In other embodiments the enalapril oral liquid formula
   varies depending upon factors such as the particular enal tions are provided at the maximum tolerated dose (MTD ) for
   april salt or form , disease condition and its severity, the 55 enalapril and / or enalaprilat. In other embodiments, the
   identity (e.g. , weight, sex) of the subject or host in need of amount of the enalapril oral liquid formulations adminis
   treatment, but can nevertheless be determined according to tered is from about 10 % to about 90 % of the maximum
   the particular circumstances surrounding the case , including, tolerated dose ( MTD ) , from about 25 % to about 75 % of the
   e.g. , the specific agent being administered , the liquid com       MTD , or about 50 % of the MTD . In particular embodiments,
   position type , the condition being treated , and the subject or 60 the amount of the enalapril oral liquid formulations admin
   host being treated .                                                istered is from about 5 % , 10 % , 15 % , 20 % , 25 % , 30 % , 35 % ,
      In some embodiments, the enalapril oral liquid formula           40% , 45 % , 50 % , 55 % , 60 % , 65 % , 70 % , 75 % , 80% , 85 % ,
   tions described herein are provided in a dose per day from 90% , 95 % , 99 % , or higher, or any range derivable therein ,
   about 0.01 mg to 100 mg , from about 0.1 mg to about 80 mg , of the MTD for enalapril and / or enalaprilat.
   from about 1 to about 60 , from about 2 mg to about 40 mg 65 In further embodiments, the enalapril oral liquid formu
   of enalapril. In certain embodiments , the enalapril oral liquid        lations are provided in a dosage that is similar, comparable
   formulations described herein are provided in a daily dose of           or equivalent to a dosage of a known enalapril tablet
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   formulation . In other embodiments , the enalapril oral liquid a subject. In some other embodiments, enalapril oral liquid
   formulations are provided in a dosage that provides a formulations described herein are administered intermit
   similar, comparable or equivalent pharmacokinetic param           tently (e.g. drug holiday that includes a period of time in
   eters (e.g. , AUC , Cmax, Tmax, Cmin , T1 /2 ) as a dosage of a which the formulation is not administered or is administered
   known enalapril tablet formulation . Similar, comparable or 5 in a reduced amount ).
   equivalent pharmacokinetic parameters , in some instances ,          In some embodiments an enalapril oral liquid formulation
   refer to within 80 % to 125 % , 80 % to 120 % , 85 % to 125 % , is administered to a subject who is in a fasted state . A fasted
   90 % to 110% , or increments therein , of the given values . It state refers to a subject who has gone without food or fasted
   should be recognized that the ranges can , but need not be for a certain period of time . General fasting periods include
   symmetrical, e.g. , 85 % to 105 % .                            10 at least 4 hours, at least 6 hours , at least 8 hours, at least 10
   Administration                                                     hours , at least 12 hours , at least 14 hours and at least 16
      Administration of an enalapril oral liquid formulation is at hours without food. In some embodiments, an enalapril oral
   a dosage described herein or at other dose levels and liquid formulation is administered orally to a subject who is
   formulations determined and contemplated by a medical in a fasted state for at least 8 hours. In other embodiments,
   practitioner. In certain embodiments, the enalapril oral liquid 15 an enalapril oral liquid formulation is administered to a
   formulations described herein are administered for prophy          subject who is in a fasted state for at least 10 hours. In yet
   lactic and / or therapeutic treatments . In certain therapeutic other embodiments, an enalapril oral liquid formulation is
   applications, the enalapril oral liquid formulations are administered to a subject who is in a fasted state for at least
   administered to a patient already suffering from a disease , 12 hours . In other embodiments, an enalapril oral liquid
   e.g. , hypertension, in an amount sufficient to cure the disease 20 overnight
   or at least partially arrest or ameliorate the symptoms, e.g. ,
                                                                       formulation
                                                                                .
                                                                                   is administered to a subject who has fasted
   lower blood pressure . Amounts effective for this use depend        In other embodiments an enalapril oral liquid formulation
   on the severity of the disease , previous therapy, the patient's is administered to a subject who is in a fed state . A fed state
   health status, weight, and response to the enalapril formu refers to a subject who has taken food or has had a meal . In
   lations , and the judgment of the treating physician . Thera- 25 certain embodiments, an enalapril oral liquid formulation is
   peutically effective amounts are optionally determined by administered to a subject in a fed state 5 minutes post -meal ,
   methods including, but not limited to , a dose escalation 10 minutes post -meal , 15 minutes post - meal , 20 minutes
   clinical trial.                                                  post -meal, 30 minutes post-meal, 40 minutes post -meal, 50
      In prophylactic applications, the enalapril oral liquid minutes post -meal , 1 hour post - meal , or 2 hours post -meal .
   formulations described herein are administered to a patient 30 In certain instances , an enalapril oral liquid formulation is
   susceptible to or otherwise at risk of a particular disease , administered to a subject in a fed state 30 minutes post -meal .
   e.g. , hypertension. Such an amount is defined to be a                 In other instances , an enalapril oral liquid formulation is
   " prophylactically effective am         or dose.” In this use , the    administered to a subject in a fed state 1 hour post -meal . In
   precise amounts also depend on the patient's state of health , yet further embodiments , an enalapril oral liquid formula
   weight, and the like. When used in a patient, effective 35 tion is administered to a subject with food .
   amounts for this use will depend on the risk or susceptibility    In further embodiments described herein , an enalapril oral
   of developing the particular disease, previous therapy, the liquid formulation is administered at a certain time of day for
   patient's health status and response to the enalapril formu the entire administration period . For example, an enalapril
   lations , and the judgment of the treating physician .         oral liquid formulation can be administered at a certain time
      In certain embodiments wherein the patient's condition 40 in the morning, in the evening, or prior to bed . In certain
   does not improve, upon the doctor's discretion the admin       instances , an enalapril oral liquid formulation is adminis
   istration of an enalapril oral liquid formulations described           tered in the morning. In other embodiments, an enalapril oral
   herein are administered chronically, that is , for an extended         liquid formulation can be administered at different times of
   period of time , including throughout the duration of the              the day for the entire administration period. For example , an
   patient's life in order to ameliorate or otherwise control or 45 enalapril oral liquid formulation can be administered on 8:00
   limit the symptoms of the patient's disease . In other embodi am in the morning for the first day, 12 pm noon for the next
   ments , administration of an enalapril oral liquid formulation day or administration, 4 pm in the afternoon for the third day
   continues until complete or partial response of a disease .         or administration , and so on .
      In certain embodiments wherein a patient's status does Further Combinations
   improve , the dose of an enalapril oral liquid formulation 50 The treatment of certain diseases or conditions ( e.g. ,
   being administered may be temporarily reduced or tempo hypertension, heart failure , myocardial infarction and the
   rarily suspended for a certain length of time ( i.e. , a “ drug like ) in a subject with an enalapril oral liquid formulation
   holiday” ). In specific embodiments, the length of the drug described herein encompass additional therapies and treat
   holiday is between 2 days and 1 year, including by way of ment regimens with other agents in some embodiments.
   example only, 2 days , 3 days, 4 days, 5 days, 6 days , 7 days , 55 Such additional therapies and treatment regimens can
   10 days, 12 days, 15 days , 20 days , 28 days, 35 days, 50 include another therapy, e.g. , additional anti -hypertensives,
   days, 70 days, 100 days , 120 days, 150 days , 180 days, 200 for treatment of the particular disease or condition in some
   days, 250 days, 280 days, 300 days, 320 days, 350 days , and embodiments . Alternatively, in other embodiments , addi
   365 days . The dose reduction during a drug holiday is , by tional therapies and treatment regimens include other agents
   way of example only, by 10% -100/% , including by way of 60 used to treat adjunct conditions associated with the disease
   example only 10 % , 15 % , 20 % , 25 % , 30 % , 35 % , 40 % , 45 % ,   or condition or a side effect from the enalapril oral liquid
   50 % , 55 % , 60 % , 65 % , 70 % , 75 % , 80% , 85 % , 90% , 95 % , formulation in the therapy.
   and 100 % .                                                           Additional agents for use in combination with an enalapril
      In some embodiments, enalapril oral liquid formulations oral liquid formulation described herein include , but are not
   described herein are administered chronically. For example, 65 limited to , diuretics (loop , thiazide, potassium - sparing, and
   in some embodiments, an enalapril oral liquid formulation is the like ), beta blockers (metoprolol, propanolol, pronethalol,
   administered as a continuous dose, i.e. , administered daily to and the like) , alpha blockers ( phentolamine, phenoxyben
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                                  29                                                                       30
   zamine , tamsulosin , prazosin , and the like ), mixed alpha and          The term “ animal” as used herein includes , but is not
   beta blockers ( bucindolol, carvedilol, labetalol ), calcium            limited to , humans and non -human vertebrates such as wild ,
   channel blockers (dihydropyridines such as nifedipine,                  domestic and farm animals . As used herein , the terms
   amlodipine , etc. , dilitazem , verapamil and the like ) , angio    " patient , ” “ subject ” and “ individual” are intended to include
   tensin II receptor antagonists ( saralasin, Isartan , eprosartin, 5 living organisms in which certain conditions as described
   irbesartan, valsartan , and the like) , other ACE inhibitors herein          can occur. Examples include humans, monkeys,
   ( captopril, quinapril, ramipril, lisinopril, zofenopril, and the Cows , sheep, goats , dogs , cats, mice , rats , and transgenic
   like) , aldosterone antagonists ( eplerenone, spironolactone species thereof. In a preferred embodiment, the patient is a
   and the like ) , vasodilators ( hydralazine and the like ) and primate. In certain embodiments, the primate or subject is a
   alpha-2 agonists ( clonidine, moxonidine, guanabenz and the 10 human . In, the
                                                                  instances   certain instances
                                                                                  human  is child, the
                                                                                                   . In human
                                                                                                        further isinstances
                                                                                                                    an adult, .theIn certain
                                                                                                                                     human
   like ).                                                             is 12 years of age or younger. In certain instances, the human
                         Certain Definitions                           is elderly. In other instances , the human is 60 years of age
                                                                       or older. Other examples of subjects include experimental
                                                                    15 animals
      Unless defined otherwise , all technical and scientific cows . The        such as mice , rats, dogs, cats , goats, sheep, pigs , and
   terms used herein have the same meanings as commonly a disorder,experimental      e.g. , a
                                                                                                  animal can be an animal model for
                                                                                              transgenic   mouse with hypertensive
   understood by one of ordinary skill in the art. Although any pathology. A patient can be a human                suffering from hyper
   methods and materials similar or equivalent to those tension , or its variants or etiological forms.
   described herein can be used in the practice or testing of 20 By “ pharmaceutically acceptable ”, it is meant the carrier,
   embodiments described herein , certain preferred methods , diluent or excipient must be compatible with the other
   devices, and materials are now described.                           ingredients of the formulation and not deleterious to the
      As used herein and in the appended claims , the singular recipient thereof.
   forms “ a ” , “ an ”, and “ the” include plural reference unless       The term “ pharmaceutical composition ” shall mean a
   the context clearly dictates otherwise. Thus, for example, 25 composition comprising at least one active ingredient,
   reference to “ an excipient ” is a reference to one or more whereby the composition is amenable to investigation for a
   excipients and equivalents thereof known to those skilled in specified , efficacious outcome in a mammal ( for example,
   the art, and so forth .                                             without limitation , a human ). Those of ordinary skill in the
      The term " about " is used to indicate that a value includes         art will understand and appreciate the techniques appropriate
   the standard level of error for the device or method being 30 for determining whether an active ingredient has a desired
   employed to determine the value . The use of the term “ or ”            efficacious outcome based upon the needs of the artisan .
   in the claims is used to mean " and/ or " unless explicitly                A " therapeutically effective amount” or " effective
   indicated to refer to alternatives only or the alternatives are         amount" as used herein refers to the amou of active
   mutually exclusive, although the disclosure supports a defi             compound or pharmaceutical agent that elicits a biological
   nition that refers to only alternatives and to " and/ or . ” The 35     or medicinal response in a tissue , system , animal , individual
   terms " comprise , " " have ” and “ include” are open -ended            or human that is being sought by a researcher, veterinarian,
   linking verbs . Any forms or tenses of one or more of these             medical doctor or other clinician , which includes one or
   verbs, such as “ comprises , ” “ comprising," " has ,” “ having, "      more of the following: ( 1 ) preventing the disease ; for
   “ includes ” and “ including, ” are also open - ended . For             example , preventing a disease , condition or disorder in an
   example, any method that “ comprises," " has” or “ includes ” 40        individual that may be predisposed to the disease , condition
   one or more steps is not limited to possessing only those one           or disorder but does not yet experience or display the
   or more steps and also covers other unlisted steps .                    pathology or symptomatology of the disease , ( 2 ) inhibiting
      “ Optional” or “ optionally ” may be taken to mean that the          the disease ; for example , inhibiting a disease, condition or
   subsequently described structure, event or circumstance may             disorder in an individual that is experiencing or displaying
   or may not occur, and that the description includes instances 45        the pathology or symptomatology of the disease , condition
   where the events occurs and instances where it does not.                or disorder (i.e. , arresting further development of the pathol
      As used herein , the term “ therapeutic ” means an agent             ogy and / or symptomatology ), and ( 3 ) ameliorating the dis
   utilized to treat, combat, ameliorate , prevent or improve an           ease ; for example, ameliorating a disease , condition or
   unwanted condition or disease of a patient. In some embodi              disorder in an individual that is experiencing or displaying
   ments , a therapeutic agent such as enalapril is directed to the   50   the pathology or symptomatology of the disease , condition
   treatment and /or the amelioration of, reversal of, or stabili          or disorder ( i.e. , reversing the pathology and /or symptoma
   zation of the symptoms of hypertension described herein .               tology ) . As such , a non -limiting example of a “ therapeuti
       “ Administering " when used in conjunction with a thera             cally effective amount " or " effective amount " of a formu
   peutic means to administer a therapeutic systemically or                lation of the present disclosure may be used to inhibit, block ,
   locally, as directly into or onto a target tissue , or to admin-   55   or reverse the activation , migration, or proliferation of cells
   ister a therapeutic to a patient whereby the therapeutic                or to effectively treat hypertension or ameliorate the symp
   positively impacts the tissue to which it is targeted. Thus, as         toms of hypertension.
   used herein , the term “ administering ”, when used in con                  The terms “ treat,” “ treated , ” “ treatment,” or “ treating ” as
   junction with an enalapril formulation, can include , but is            used herein refers to both therapeutic treatment in some
   not limited to , providing an enalapril formulation into or        60   embodiments and prophylactic or preventative measures in
   onto the target tissue ; providing an enalapril formulation             other embodiments, wherein the object is to prevent or slow
   systemically to a patient by, e.g. , oral administration                ( lessen ) an undesired physiological condition, disorder or
   whereby the therapeutic reaches the target tissue or cells .            disease , or to obtain beneficial or desired clinical results . For
   “ Administering ” a formulation may be accomplished by                  the purposes described herein , beneficial or desired clinical
   injection , topical administration , and oral administration or    65   results include, but are not limited to , alleviation of symp
   by other methods alone or in combination with other known               toms ; diminishment of the extent of the condition , disorder
   techniques.                                                             or disease ; stabilization (i.e. , not worsening) of the state of
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                                                 31                                                                                               32
   the condition, disorder or disease ; delay in onset or slowing                                                                   TABLE A - 2 - continued
   of the progression of the condition , disorder or disease ;                                                           Primary Degradants Present in the Formulations
   amelioration of the condition , disorder or disease state ; and                                                                ( % w / w of enalapril maleate )
   remission (whether partial or total ) , whether detectable or                                  5
   undetectable , or enhancement or improvement of the con                                                                                             Formulation
   dition, disorder or disease . Treatment includes eliciting a                                         Hours at 60 ° C.       ?1         A2           A3        A4        A5            A6
   clinically significant response without excessive levels of
   side effects . Treatment also includes prolonging survival as                                                                            Enalaprilat
   compared to expected survival if not receiving treatment. A                                   10
                                                                                                                               0.09       0.15      0.29         0.14      0.16          0.12
   prophylactic benefit of treatment includes prevention of a                                                       97         5.20      16.9      47.4         16.1      20.3          15.6
   condition, retarding the progress of a condition , stabilization                                              180           9.94      34.8      113          33.5      42.2          31.7
   of a condition, or decreasing the likelihood of occurrence of
   a condition . As used herein , “ treat," " treated ," " treatment,”                           15
   or “ treating” includes prophylaxis in some embodiments .
                                         EXAMPLES
                                                                                                               Example B : Effect of Buffer Concentration on the
                                                                                                               Formation of Degradants in Enalapril Formulations
                                                                                                                                            at 60 ° C.
            Example A : Effect of pH on the Formation of
           Degradants in Enalapril Formulations at 60 ° C.                                       20
                                                                                                          Formulations were prepared containing enalapril maleate
        Formulations were prepared containing enalapril maleate                                         according to Table B - 1 . The pH of each solution was
   according to Table A - 1 . The pH of each solution was                                               measured and adjusted as needed to pH 3.3 with ~ 1N HC1
   recorded . Five milliliters of each formulation were trans        or -0.5N NaOH . Five milliliters of each formulation were
   ferred to each of four 3 - dram glass screw -capped vials with 25 transferred to each of six 3 - dram glass screw -capped vials
   Teflon inserts in the caps . The vials were placed into a 60 ° with Teflon inserts in the caps. The vials were placed into a
   C. heating chamber then one vial removed and analyzed by 60 ° C. heating chamber then two vials were removed and
   HPLC at times of zero , -97 and ~ 180 hours .                     analyzed by HPLC at times of zero , ~ 66 and ~ 139 hours.
                                                       TABLE A - 1
                     Formulation (in mg/mL) of Enalapril Formulations at Varying
                                        pH and Citrate Buffer Concentration
                                                                     Formulation (mM citrate )
   Component                                     Al ( 50 ) A2 (50 ) A3 ( 50 ) A4 ( 50 ) A5 (50 ) A6 ( 25 )
   Enalapril maleate                               1.0         1.0         1.0       1.0         1.0       1.0
   Mannitol                                       50          50          50                    50         6.0
   Xylitol                                                                          50
   Citric acid , anhydrous                         7.35        5.05        2.55      5.05        5.05      2.76
   Sodium citrate , dihydrate                      3.45        7.0        10.8       7.0         7.0       3.15
   Sodium benzoate                                 1           1           1         1           1
   Methylparaben sodium                                                                          1.75      0.335
   Propylparaben sodium                                                                                    0.095
   Potassium sorbate                                                                                       1
   Sucralose                                       0.75        0.75        0.75      0.75        0.75      0.75
   Silicon dioxide                                                                                         0.075
   Mixed berry flavor (powdered)                   0.5         0.5         0.5       0.5         0.5       0.5
   Water                                           qs          qs          qs        qs          qs            qs
   pH                                              3.4         4.4         5.2       4.4         4.5       4.4

   qs = sufficient quantity

        The results of the HPLC analysis for the two main                                                                               TABLE B - 1
   degradants in the samples, enalapril diketopiperazine and
   enalaprilat, are provided in Table A - 2 .                                                                       Formulation (in mg/mL) of Enalapril Maleate Formulations
                                                                                                                             at Varying Citrate Buffer Concentrations
                                                                                                 55
                                  TABLE A - 2                                                                                                               Formulation
                   Primary Degradants Present in the Formulations                                                                          B1                   B2                B3
                                   ( % w /w of enalaprilmaleate )                                   Component                         (5 mM citrate ) ( 10 mM citrate ) (20 mM citrate )
                                                       Formulation                               60 Enalapril maleate                      1.0                 1.0                1.0
   Hours at 60 ° C.           A1          A2           A3          A4        A5          A6         Citric acid, anhydrous                 0.82                1.65               3.29
                                                                                                    Sodium citrate,                        0.19                0.38               0.75
                                     Enalapril Diketopiperazine                                     anhydrous
                                                                                                        Sodium benzoate                    1.0                 1.0                1.0
              0               0.04       0.03          0.03        0.03      0.03        0.03           Sucralose                          0.7                 0.7                0.7
            97                3.10       0.88          0.33        0.86      0.70        0.53     65 Mixed berry flavor                    0.5                 0.5                0.5
           180                6.21        1.77         0.75        1.73      1.43        1.07           (powdered)
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                                             33                                                                                    34
                              TABLE B - 1 - continued                                                                       TABLE C - 1
                                                                                                            Composition of Enalapril Maleaten Formulations
            Formulation ( in mg/mL ) of Enalapril Maleate Formulations
                                                                                            Component                       C1          C2           C3           C4       C5
                     at Varying Citrate Buffer Concentrations                          5
                                                                                                                     Powder Formulation ( grams)
                                                      Formulation                       Enalapril maleate                  12.3      12.3          8.86            2.16     2.16
                                                                                        Mannitol                           74.4     74.4         394.0
                                      B1               B2                B3
                                                                                        Xylitol                                                                  96.6      93.7
                                                                                     10 Citric acid , anhydrous            28.6      35.6            28.4         5.40      5.40
   Component                     (5 mM citrate ) ( 10 mM citrate ) ( 20 mM citrate )    Sodium citrate, anhydrous          24.5      14.7             7.73        4.10      4.10
                                                                                        Sodium methylparaben                4.17        4.17          8.86         2.16     2.16
                                                                                        Sodium propylparaben                1.10      1.10
   Water                               qs                    qs                qs         Potassium sorbate                12.3      12.3
   pH                                  3.3                                  3.3           Sodium benzoate                                             8.86         2.16     2.16
                                                             3.3                                                                                                            1.62
                                                                                       15 Xanthan Gum
                                                                                          Colloidal silicon dioxide         0.859       0.859         4.43                  1.08
                                                                                          Sucralose                         9.20        9.20          6.64         1.62     1.62
   qs = sufficient quantity
                                                                                            Mixed berry flavor              6.13        6.13          4.43         1.08     1.08

        The results of the HPLC analysis for the two main                                   Total solids                  173.5     170.7        472.3           115.2    115.2
   degradants in the samples, enalapril diketopiperazine and                           20                           Liquid Formulations (mg/mL )
   enalaprilat, are provided in Table B - 2 .                                             Enalapril maleate                 1.00        1.00          1.00         1.00     1.00
                                                                                          Mannitol                          6.07        6.07         44.5
                                  TABLE B - 2                                             Xylitol                                                                44.7     43.4
                                                                                          Citric acid, anhydrous            2.33        2.90          3.21        2.50     2.50
                   Primary Degradants Present in the Formulations                         Sodium citrate , anhydrous        2.00        1.20          0.87        1.90      1.90
                              ( % w / w of enalapril maleate )                         25 Sodium methylparaben              0.34        0.34          1.00        1.00      1.00
                                                                                          Sodium propylparaben              0.09        0.09          1.00
                                              Formulation                                   Potassium sorbate               1.00        1.00
                                                                                            Sodium benzoate                                           1.00         1.00     1.00
        Hours at               B1                     B2                  B3                Xanthan Gum                                                                     0.75
         60 ° C.         ( 5 mM citrate )    ( 10 mM citrate)       (20 mM citrate )      Colloidal silicon dioxide         0.07        0.07          0.50                  0.50
                                                                                       30 Sucralose                         0.75        0.75          0.75         0.75     0.75
                               Enalapril Diketopiperazine                                   Mixed berry flavor              0.50        0.50          0.50         0.50     0.50
                                                                                            pH (measured )                  4.4         3.8           3.7          4.4      4.6
            0                 0.01                    0.01               0.01
           66                 1.57                    1.63               1.79
          139                 3.70                 3.94                  4.24                 The results of the HPLC analysis for the diketopiperazine
                                        Enalaprilat                                    35   and enalaprilat degradants in the samples are provided in
                                                                                            Table C - 2 .
            0                 0.00                 0.00                  0.00
           66                 2.98                 2.88                  3.19
          139                 5.28                 5.23                  5.69                                               TABLE C - 2
                                                                                       40
                                                                                                  Degradant Content After Storage ( % w /w of enalapril maleate )
                                                                                                                     Storage                         Formulation
              Example C : Stability of Enalapril Maleate                                                           oc .    Weeks     C1         C2          C3     C4      C5
            Formulations Containing Paraben Preservatives
                                                                                                                          Liquid Formulations
                                                                                       45
      Powder formulations were prepared according to Table Diketopiperazine 5                 0     0.03 0.04 0.04 0.02   0.02
   C - 1 . All components in each formulation except mannitol or                              4
                                                                                              8
                                                                                                    0.02 0.03 0.03 0.03
                                                                                                    0.03 0.04 0.04
                                                                                                                          0.02
   xylitol were added to a 2.5 liter polypropylene screw capped                     19-23     0     0.03 0.04 0.04 0.02   0.02
   bottle . The bottle was mixed by inversion in a Turbula®                                   4     0.05 0.09 0.11 0.05   0.04
   mixer for 5 minutes . The mannitol or xylitol was then added 50                   40
                                                                                              8
                                                                                              0
                                                                                                    0.08 0.17 0.19
                                                                                                    0.03 0.04 0.04 0.02   0.02
   and the components mixed for 5 minutes, then the other half                                4     0.35 0.91 1.10 0.31   0.21
   of the mannitol or xylitol was added and a final mix of 5                                  8     0.65 1.80 2.05
   minutes was completed .                                         Enalaprilat                                            0.19




                                                                                                                            O
                                                                                      5             0.18 0.14 0.12 0.13
                                                                                                    0.18 0.15 0.12 0.43   0.53
   One liter of solution formulation was prepared for each 55                                       0.55 0.38 0.34
   formulation by adding an appropriate amount of each pow                          19-23           0.18 0.14 0.12 0.13
                                                                                                    1.35 0.83 0.80 1.75
                                                                                                                          0.19
                                                                                                                          2.29
   dered formulation to a 1 liter volumetric flask and adding                                       3.34 2.06 1.98
   about 500 mL water. The powder was dissolved with mixing                          40             0.18 0.14 0.12 0.13   0.19
   then the contents of the flask were brought to 1 liter with                                     10.49 6.08 6.11 12.30 16.14
                                                                                                   24.37 14.12 14.22
   additional water. The amount of powder to add was deter 60
   mined such that the final concentration of enalapril maleate
   was 1.0 mg/mL . Fifty milliliter aliquots of each formulation              Example D : Stability of Enalapril Maleate
   were placed into HDPE bottles . The bottles were screw                 Formulations  Containing Benzoate Preservative
   capped and placed into storage at 5 ° C. + 3 ° C. , at room
   temperature ( 19-23 ° C. ) and at 40 ° C.12 ° C. At various 65 Powder formulations were prepared according to Table
   times , bottles were removed from the storage condition and D - 1 . All components in each formulation except enalapril
   analyzed.                                                       maleate and mannitol or xylitol were blended with a mortar
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                               35                                                                                              36
   and pestle . The enalapril maleate was then triturated with the additional water. The amount of powder to add was deter
   blend . The xylitol or mannitol was then triturated into the mined such that the final concentration of enalapril maleate
   blend using a geometric dilution technique.                     was 1.0 mg/mL . Fifty milliliter aliquots of each formulation
   One liter of solution formulation was prepared for each were placed into HDPE bottles . The bottles were screw
   formulation by adding an appropriate amount of each pow- 5 capped and placed into storage at 5º C.13 ° C. , at room
   dered formulation to a 1 liter volumetric flask and adding temperature ( 19-23 ° C. ) and at 40 ° C. + 2 ° C. At various
   about 500 mL water. The powder was dissolved with mixing times , bottles were removed from the storage condition and
   then the contents of the flask were brought to 1 liter with analyzed .
                                                                                              TABLE D - 1
                                                                             Composition of Enalapril Maleate Formulations
                                            Component                                                D1               D2              D3             D4           D5       D6
                                                                                      Powder Formulation ( grams)
                                            Enalapril maleate                                            3.63        3.63              3.63           3.63         8.86     2.16
                                            Xylitol                                                 537.2          176.1                            537.2
                                            Mannitol                                                                                319.4                        401.2    98.9
                                            Citric acid , anhydrous                                  11.9             11.9           11.9            10.4         26.6      6.48
                                            Sodium citrate, anhydrous                                 2.72             2.72           2.72            4.86        11.3     2.76
                                            Sodium benzoate                                           3.63              3.63          3.63            3.63         8.86     2.16
                                            Rebalance X60 ( sucralose and maltodextrin )                              10.9
                                            Sucralose                                                                                                              6.64     1.62
                                            Saccharin sodium                                                                           7.26
                                            Colloidal silicon dioxide                                                                                              4.43
                                            Mixed berry flavor                                           1.82           1.82           1.82           1.82         4.43     1.08
                                            Total solids                                            561           211               350 .           561          472.3    115.2
                                                                                      Liquid Formulations (mgmL
                                                                                                             / )
                                            Enalapril maleate                                         1.00             1.00            1.00           1.00         1.00     1.00
                                            Xylitol                                                 148.0             48.5                          148.0
                                            Mannitol                                                                                  88.0                        45.3    45.8
                                            Citric acid, anhydrous                                       3.29           3.29           3.29           2.85         3.00    3.00
                                            Sodium citrate , anhydrous                                   0.75           0.75           0.75           1.34         1.28    1.28
                                            Sodium benzoate                                              1.00           1.00           1.00           1.00         1.00     1.00
                                            Rebalance X60 ( sucralose and maltodextrin )                                3.00
                                            Sucralose                                                                                                              0.75     0.75
                                            Saccharin sodium                                                                           2.00
                                            Colloidal silicon dioxide                                                                                              0.50
                                            Mixed berry flavor                                           0.50           0.50           0.50           0.50         0.50     0.50
                                            pH (measured )                                               3.2            3.2            3.4            3.7          3.6      3.6


                                                                        40      The results of the HPLC analysis for the diketopiperazine
                                                                              and enalaprilat degradants in the samples are provided in
                                                                              Table D - 2 .
                                                                                                          TABLE D - 2
                                                                             Degradant Content After Storage (% w / w of enalapril maleate )
                                                                                          Storage                                            Formulation
                                                                                     ° C.     Weeks              D1            D2            D3           D4       D5      D6

                                                                                                     Liquid Formulations
                                                           Diketopiperazine           5              0           0.04          0.02          0.03         0.03     0.04   0.04
                                                                                                     4           0.07          0.03          0.05         0.05     0.03
                                                                                                     8           0.11          0.06          0.08         0.08     0.05
                                                                                                    12           0.08          0.04          0.06         0.06
                                                                                                    26           0.11          0.07          0.09         0.07
                                                                                    19-23            0           0.04          0.02          0.03         0.03     0.04   0.04
                                                                                                     4           0.27          0.21          0.24         0.16     0.12   0.12
                                                                                                     8          0.50           0.41          0.47         0.30     0.21   0.22
                                                                                                    12           0.62          0.52          0.58         0.35
                                                                                                    26           1.39          1.20          1.33         0.76
                                                                                     40              0           0.04          0.02          0.03         0.03     0.04   0.04
                                                                                                     4           2.87          2.32          2.73         1.57     1.21   1.13
                                                                                                     8           5.13          4.42          5.44         2.97     2.23   2.16
                                                                                                    12           6.86          5.90          6.90         3.91
                                                                                                    26          13.63         12.18         13.56         7.74
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                                            37                                                                                                            38
                                     TABLE D - 2 - continued
                 Degradant Content After Storage ( % w /w of enalapril maleate )
                              Storage                                         Formulation
                         ° C.        Weeks        D1             D2           D3            D4           D5        D6
   Enalaprilat                          0         0.03           0.02         0.03          0.03         0.13      0.14
                                        4         0.15           0.12         0.06          0.17         0.13
                                        8         0.22           0.19        0.22           0.27         0.34
                                       12         0.20           0.17        0.19           0.22
                                        8         0.32           0.30        0.30           0.39
                        19-23           0         0.03           0.02        0.03           0.03         0.13      0.14
                                        4         0.69           0.66         0.69          0.86         0.74      0.76
                                        8         1.38           1.33         1.41          1.68         1.83      1.82
                                       12         1.71           1.68         1.73          2.15
                                       26         3.63           3.61        3.59           4.55
                         40             0         0.03          0.02          0.03         0.03          0.13      0.14
                                        4         4.76          4.42          4.76         6.45          5.55      5.24
                                        8         8.95          8.64          9.61        12.94         12.73     12.18
                                       12         11.01        10.64         11.41        16.16
                                       26         17.18        17.11     18.30            27.36



          Example E : Stability of Solution Formulations of                                                                                            -continued
                           Enalapril Maleate
                                                                                                                         Composition of Enalapril Maleate Formulations (mg/mL )
       Solution formulations were prepared according to Table 25                                                 Component                E1        E2      E3      E4      E5                    E6
   E - 1 . Thirty milliliter aliquots of each formulation were
   placed into HDPE bottles. The bottles were screw -capped                                                      Citric acid anhydrous           3.29      3.29       3.29     3.29     1.65     0.82
   and placed into storage at 5 ° C.13 ° C. , at room temperature                                                Sodium citrate
                                                                                                                 anhydrous
                                                                                                                                                 0.75      0.75       0.75     0.75     0.38     0.19
   ( 19-23 ° C. ) and at 40 ° C. 2 ° C. At various times , bottles                                               Sodium benzoate                 1.00      1.00       1.00     1.00      1.00    1.00
   were removed from the storage condition and analyzed. 30                                                      Sucralose                                            0.70              0.70     0.70
                                                                                                                 Mixed berry flavor              0.50                 0.50     0.50     0.50     0.50
                                                                                                                 Water                            qs          qs       qs       qs       as       qs
            Composition of Enalapril Maleate Formulations (mg/mL)                                                pH (measured )                  3.3       3.3        3.3      3.4      3.3      3.3

   Component                    E1           E2           E3            E4           E5          E6              qs = sufficient quantity
                                                                                                          35
   Enalapril maleate            1.00          1.00        1.00          1.00         1.00        1.00              The results of the HPLC analysis for the diketopiperazine
   Xylitol                    150           200                       150                                        and enalaprilat degradants in the samples are provided in
                                                                                                                 Table E - 2 .
                                                                                                                                              TABLE E - 2
                                                                                                                Degradant Content After Storage (% w / w of enalapril maleate )
                                                                                                                               Storage                              Formulation
                                                                                                                          ° C.      Weeks       E1       E2        E3        E4       E5        E6

                                                                                            Diketopiperazine               5           0        0.01     0.01      0.01      0.01     0.01      0.01
                                                                                                                                       4        0.04     0.04      0.05      0.04     0.03      0.03
                                                                                                                                       8        0.04     0.04      0.04      0.04     0.03      0.03
                                                                                                                                      12        0.05     0.05      0.04      0.05     0.04      0.04
                                                                                                                                      26        0.07     0.06      0.05      0.06     0.05      0.05
                                                                                                                                      52                                              0.15      0.14
                                                                                                                                      62        0.18     0.18      0.16      0.14
                                                                                                                          19-23        0        0.01     0.01      0.01      0.01     0.01      0.01
                                                                                                                                       4        0.22     0.23      0.21      0.20     0.16      0.15
                                                                                                                                       8        0.35     0.35      0.32      0.31     0.29      0.28
                                                                                                                                      12        0.58     0.59      0.53      0.51     0.48      0.45
                                                                                                                                      26        1.10     1.10      1.00      0.95     0.97      0.92
                                                                                                                                      52                                              2.30      2.15
                                                                                                                                      62        3.02     3.04      2.75      2.64
                                                                                                                          40           0        0.01     0.01      0.01      0.01     0.01      0.01
                                                                                                                                       4        2.65     2.71      2.60      2.42     1.76      1.68
                                                                                                                                          8     4.02     3.99      3.99      3.62     3.37      3.13
                                                                                                                                         12     6.72     6.42      6.47      6.00     5.53      5.29
                                                                                            Enalaprilat                    5              0     0.00     0.00      0.01      0.02     0.00      0.00
                                                                                                                                         4      0.07     0.09      0.10      0.11     0.07      0.08
                                                                                                                                          8     0.12     0.14      0.10      0.13     0.09      0.08
                                                                                                                                         12     0.16     0.15      0.15      0.17     0.14      0.11
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                                                                                      US 10,772,868 B2
                                                   39                                                                                  40
                                        TABLE E - 2 - continued
                   Degradant Content After Storage ( % w / w of enalapril maleate )
                                   Storage                                     Formulation
                              oc .      Weeks             E1        E2         E3        E4       E5       E6
                                             26          0.31       0.30      0.29      0.31      0.27    0.24
                                             52                                                   0.54    0.46
                                             62          0.75       0.75      0.74      0.71
                              19-23           0          0.00       0.00      0.01      0.02      0.00    0.00
                                              4          0.65       0.65      0.68      0.70      0.50    0.46
                                              8          1.17       1.19      1.20      1.23      1.03    0.95
                                             12          1.67       1.69       1.72     1.80      1.30    1.21
                                             26          3.36       3.38      3.42      3.57      3.07    2.90
                                             52                                                   6.32    5.88
                                             62          7.99       8.02       8.04     8.57
                              40              0          0.00       0.00       0.01      0.02     0.00    0.00
                                              4          4.85       4.93       5.19      5.42     3.33    3.25
                                              8          8.08       8.06       8.56      9.01     6.65    6.35
                                              12        10.70      10.48      11.01     11.97     8.14    7.96

                                                                                                    20
             Example F : Effect of pH on the Formation of                                                    Example H : Clinical Trial: Bioavailability Study of
         Degradants in Enalapril Formulations at 5 ° C. and                                                  10 mg Enalapril Maleate Oral Solution Vs. 10 mg
                                            19-23 ° C.                                                       Epaned® Powder for Oral Solution (Reconstituted )
                                                                                                    25
                                                                                                                           Under Fasted Conditions
      The content of enalapril diketopiperazine and enalaprilat
   that were formed after 8 weeks of storage for formulations                                                The objective of this open -label, randomized , two -period ,
   C1 - C3 and D1 - D5 are plotted in FIG . 1 ( 5º C. - 3 ° C. ) and                                     two - treatment, two -way crossover study was to compare the
   FIG . 2 ( 19-23 ° C. storage ) . These formulations all contained                                     oral bioavailability of a test formulation of 10 mL of
   20 mM total citrate buffer content, but with varying pH . The                                    30   enalapril maleate oral solution , 1 mg/mL ( formulation E - 5 ) ,
   general effects of formulation pH on the formation of the                                             to an equivalent oral dose of the commercially available
   two main enalapril degradants are shown .                                                             comparator product, Epaned ( enalapril maleate ) Powder
                                                                                                         for Oral Solution , 1 mg/mL , when administered under fasted
                                                                                                         conditions in healthy adults.
         Example G : Antimicrobial Effectiveness Testing of                                         35       Study design: Thirty - two healthy adult subjects received
             Enalapril Maleate Formulations at pH 3.3                                                    a single 10 mL dose of enalapril maleate oral solution , 1
                                                                                                         mg/mL , formulation E - 5 ( Treatment A) , in one period and a
      Enalapril formulations were prepared containing differing                                          separate single dose of Epaned Powder for Oral Solution
   amounts of the antimicrobial preservative, sodium benzoate .                                          ( reconstituted with the supplied Ora - Sweet SF ) , 1 mg/mL
   The formulations were then tested for antimicrobial effec- 40                                         ( Treatment B ) in another period. Each treatment was admin
   tiveness ( AET ) according to the procedures in the 2014                                              istered after an overnight fast of at least 10 hours , followed
   United States Pharmacopeia 37 , Chapter < 51 > for category                                           by a 4 - hour fast postdose . Each treatment was administered
   3 products . The formulation of the formulations and the AET                                          via a 10 mL oral dosing syringe and followed with 240 mL
   results are included in Table G - 1 .                                                                 of room temperature tap water . Each drug administration
                                                                                                    45   was separated by a washout period of at least 7 days.
                                       TABLE G - 1                                                           During each study period, meals were the same and
                              Formulation and Testing Results
                                                                                                         scheduled at approximately the same times relative to dose .
                                                                                                         In addition, during each period, blood samples were
                                                                Formulation                              obtained prior to and following each dose at selected times
                                                                                                    50   through 72 hours postdose . Pharmacokinetic samples were
                                        G1              G2         G3           G4         G5            analyzed for enalapril and its metabolite enalaprilat using a
                                     Formulation (mg/mL )                                                validated analytical method ; appropriate pharmacokinetic
                                                                                                         parameters were calculated for each formulation using non
   Enalapril maleate
   Xylitol
                                        1.00
                                      150
                                                      1.00
                                                    150
                                                                    1.00      1.00
                                                                            150
                                                                                          1.00           compartmental methods. Blood was also drawn and urine
   Sucralose
                                                                  150
                                                                                          0.70      55   collected for clinical laboratory testing at screening and at
   Citric acid , anhydrous              1.64            1.64        1.64        1.64      1.80           the end of the study.
   Sodium citrate , anhydrous           0.322           0.322       0.322       0.322                        Statistical Methods: The concentration - time data were
   Sodium citrate , dihydrate                                                             0.165          analyzed using noncompartmental methods in Phoenix TM
   Sodium benzoate
   Mixed berry flavor
                                        1.00
                                        0.50
                                                        0.80
                                                        0.50
                                                                   0.60
                                                                   0.50
                                                                                0.40
                                                                                0.50
                                                                                          1.0
                                                                                          0.50
                                                                                                         WinNonlin® (Version 6.3 , Pharsight Corporation ). Concen
   Water                               q.s.             q.s.       q.s.        q.s.        q.s.     60 tration - time data that were below the limit of quantitation
   HCI/NaOH                                             as need to achieve pH                          (BLQ ) were treated as zero in the data summarization and
   Measured pH                          3.3
                                            AET Results
                                                        3.3         3.3         3.3       3.3          descriptive statistics. In the pharmacokinetic analysis, BLQ
                                                                                                       concentrations were treated as zero from time- zero up to the
   USP < 51 >                          Pass          Pass          Pass        Pass       Pass         time at which the first quantifiable concentration was
                                                                                                    65 observed ; embedded and / or terminal BLQ concentrations
   qs = sufficient quantity                                                                            were treated as “ missing ”. Actual sample times were used
                                                                                                       for all pharmacokinetic and statistical analyses . Analysis of
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                                 41                                                                   42
   variance (ANOVA ) and the Schuirmann's two one - sided                  6. The stable oral liquid formulation of claim 1 , wherein
   t - test procedures at the 5 % significance level were applied to the buffer comprises citric acid and sodium citrate .
   the log - transformed pharmacokinetic exposure parameters ,             7. The stable oral liquid formulation of claim 6 , wherein
   Cmax, AUCCzasty and AUCint The 90 % confidence interval for the citric acid and /or the sodium citrate is anhydrous,
   the ratio of the geometric means ( Test /Reference ) was 5 monohydrate or dihydrate.
   calculated . Bioequivalence was declared if the lower and               8. The stable oral liquid formulation of claim 1 , wherein
   upper confidence intervals (CIS ) of the log -transformed the buffer concentration is about 10 mM to about 20 mM .
   parameters
   enalaprilat.
                  were within 80 % to 125 % for enalapril and              9. The stable oral liquid formulation of claim 1 , wherein
                                                                        the buffer maintains the pH between about 3 and about 4 .
        Results: A total of 32 subjects participated in the study and 10 10. The stable oral liquid formulation of claim 1 , wherein
   29 of these subjects completed both study periods. Based on the buffer maintains the pH at about 3.3 .
   the geometric mean ratios of enalapril and enalaprilat AUCs             11. The stable oral liquid formulation of claim 1 , wherein
   (AUCiast and AUCing), the bioavailability of the enalapril the formulation is stable at about 5 + 3 ° C. for at least 18
   maleate oral solution ( formulation E - 5 ) relative to the months.
   Epaned Powder for Oral Solution ( reconstituted ) was 15 12. The stable oral liquid formulation of claim 1 , wherein
   approximately 105 % to 110 % . The geometric mean ratios of         the formulation is stable at about 5 + 3 ° C. for at least 24
   enalapril and enalaprilat Cm were approximately 115 % and months.
   109 % , respectively. The 90 % CI for comparing the maxi        13. A stable oral liquid formulation , consisting essentially
   mum exposure to enalapril and enalaprilat, based on in of:
   ( Cmax ), was within the accepted 80 % to 125 % limits . The 20 ( i ) about 0.6 to about 1.2 mg/ml enalapril or a pharma
   90 % CIs for comparing total systemic exposure to enalapril          ceutically acceptable salt or solvate thereof;
   and enalaprilat, based on In ( AUCjast) and In ( AUCint), was   ( ii ) a buffer to maintain the pH about 4.5 or below,
   within the accepted 80 % to 125 % limits . Therefore, the test       wherein the buffer concentration is about 5 mM to
   formulation of enalapril maleate oral solution, 1 mg/mL , is         about 20 mM ;
   bioequivalent to the reference product, Epaned Powder for 25 ( iii ) about 1 mg/ml of a preservative that is sodium
   Oral Solution ( reconstituted ), 1 mg /mL , under fasted con              benzoate ; and
   ditions .                                                             ( iv ) water;
      While preferred embodiments of the present invention            wherein the formulation comprises a sweetener and a
   have been shown and described herein , it will be obvious to            flavoring agent, wherein the formulation is stable at
   those skilled in the art that such embodiments are provided 30          about 5 + 3 ° C. for at least 12 months; and
   by way of example only. Numerous variations, changes, and          wherein the stable oral liquid formulation has about 95 %
   substitutions will now occur to those skilled in the art                w / w or greater of the initial enalapril amount and about
   without departing from the invention . It should be under               5 % w/w or less total impurity or related substances at
   stood that various alternatives to the embodiments of the               the end of the given storage period.
   invention described herein may be employed in practicing 35 14. A stable oral liquid formulation , comprising consist
   the invention . It is intended that the following claims define ing essentially of:
   the scope of the invention and that methods and structures         ( i ) about 10 % to about 25 % ( w / w of solids ) enalapril or
   within the scope of these claims and their equivalents be               a pharmaceutically acceptable salt or solvate thereof;
   covered thereby.                                                   ( ii ) a buffer to maintain the pH about 4.5 or below,
       What is claimed is :                                        40      wherein the buffer concentration is about 5 mM to
       1. A stable oral liquid formulation, consisting essentially         about 20 mM ;
   of:                                                                ( iii ) about 19 % ( w / w of solids ) of a preservative that is
       (i ) about 0.6 to about 1.2 mg /ml enalapril or a pharma             sodium benzoate ; and
           ceutically acceptable salt or solvate thereof;             ( iv) water ;
       (ii ) a buffer to maintain the pH about 4.5 or below, 45 wherein the formulation optionally comprises a sweet
           wherein the buffer concentration is about 5 mM to               ener, a flavoring agent, or both ;
           about 20 mM ;                                              wherein the formulation is stable at about 5 + 3 ° C. for at
       (iii ) about 1 mg/ml of a preservative that is sodium               least 12 months; and
           benzoate ; and                                             wherein the stable oral liquid formulation has about 95 %
       ( iv ) water;                                               50      w / w or greater of the initial enalapril amount and about
       wherein the formulation optionally comprises a sweet                5 % w/w or less total impurity or related substances at
           ener , a flavoring agent, or both ;                             the end of the given storage period.
      wherein the formulation is stable at about 5 + 3 ° C. for at    15. The stable oral liquid formulation of claim 14 , com
        least 12 months; and                                       prising a sweetener.
      wherein the stable oral liquid formulation has about 95 % 55 16. The stable oral liquid formulation of claim 15 ,
        w / w or greater of the initial enalapril amount and about wherein the sweetener is sucralose .
         5 % w / w or less total impurity or related substances at     17. The stable oral liquid formulation of claim 14 , com
         the end of the given storage period.                       prising a flavoring agent.
      2. The stable oral liquid formulation of claim 1 , compris       18. The stable oral liquid formulation of claim 14 ,
   ing a sweetener.                                              60 wherein the buffer comprises a citrate , a phosphate, a
      3. The stable oral liquid formulation of claim 2 , wherein citrate /phosphate, an acetate , a glycinate, an amino acid, or
   the sweetener is sucralose .                                        a tartrate buffer.
      4. The stable oral liquid formulation of claim 1 , compris     19. The stable oral liquid formulation of claim 14 ,
   ing a flavoring agent.                                          wherein the buffer comprises citric acid and sodium citrate .
      5. The stable oral liquid formulation of claim 1 , wherein 65 20. The stable oral liquid formulation of claim 19 ,
   the buffer comprises a citrate, a phosphate, a citrate/phos wherein the citric acid and /or the sodium citrate is anhy
   phate, an acetate , a glycinate , or a tartrate buffer.         drous, monohydrate or dihydrate .
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     21. The stable oral liquid formulation of claim 14 ,                  wherein the formulation optionally comprises a sweet
   wherein the buffer concentration is about 10 mM to about 20               ener, a flavoring agent, or both ;
   mM .                                                                    wherein the formulation is stable at about 5 + 3 ° C. for at
     22. The stable oral liquid formulation of claim 14 ,                    least 12 months; and
   wherein the buffer maintains the pH between about 3 and 5               wherein the stable oral liquid formulation has about 95 %
   about 3.5 .                                                                w / w or greater of the initial enalapril amount and about
     23. The stable oral liquid formulation of claim 14 ,                     5 % w/w or less total impurity or related substances at
   wherein the buffer maintains the pH at about 3.3 .                          the end of the given storage period.
     24. The stable oral liquid formulation of claim 14 ,                    27. The stable oral liquid formulation of claim 26 ,
   wherein
   18 months.
              the formulation is stable at about 513 ° C. for at least 10 wherein the citric acid and/or the sodium citrate is anhy
       25. The stable oral liquid formulation of claim 14 ,
                                                                          drous, monohydrate or dihydrate .
   wherein the formulation is stable at about 5 + 3 ° C. for at least        28. The stable oral liquid formulation of claim 1 , com
   24 months.                                                             prising about 1.0 mg/ml enalapril or a pharmaceutically
     26. A stable oral liquid formulation, consisting essentially is acceptable       salt or solvate thereof.
                                                                             29. The stable oral liquid formulation of claim 1 , wherein
   of:
       (i ) about 0.6 to about 1.2 mg/ml enalapril or a pharma thereof    the enalapril or a pharmaceutically acceptable salt or solvate
         ceutically acceptable salt or solvate thereof;                           is enalapril maleate .
     (ii ) a citrate buffer to maintain the pH about 4.5 or below           30. The stable oral liquid formulation of claim 1 , wherein
         comprising citric acid and sodium citrate ;                20   the buffer comprises a buffer selected from a citrate , a
     (iii ) about 1 mg/ml of a preservative that is sodium               phosphate, a citrate /phosphate , an acetate , a tartrate, a lac
         benzoate; and                                                   tate , a glycinate, and an amino acid buffer.
     ( iv ) water;
